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     A petition underthe Bankruptcy Actof 1898 orthe Bankruptcy Reform Actof1978 has previ       ously been fil
     against the debto                                                                                        ed by or
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                           s/her spouse, his or her current or former domestic padner, an afiliate of the debtor
     copadnership orjointventure ofwhich debtoris orformerly was a generaiorIimited partner,or member , any
     corporation ofwhich the debtoris a director                                                               , or any
     and title of each such of prior proceeding, o#icer,orperson in control, as follows:(Setforth the compl
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                                               , date filed, nature thereof, the Bankruptcy Judge and court to whom
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     i gned!whether stillpending and, ifnot,the disposition thereof. lfnone,so indicate. Also,list any realproperty
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     (Ifpetitionerisa padnership orjointventure)A petition underthe BankruptcyActof1898 orthe BankruptcyReform
     Actof1978 has previously been filed by oragainstthe debtororan affiliate ofthe debtor
     debtor a relative ofthe generalpadner                                                , ora generalpar  tnerin the
     d      ,                             , gener
                                                alpadnerof,orperson in controlofthe debtor, partnership in which the
     cebtoris a generalpartner,generalpartnerofthe debtor, orperson in controlofthe debtorasfollows:(Setfodhthe
     aompl ete numberand title ofeach such priorproceeding, date filed,nature ofthe proceeding the Bankruptcy Judge
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      nd coud to whom assigned, whetherstillpending and,ifnot, the disposition thereof. Ifnone,  so indicate. Also,Iist
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  NONE                          uded inScheduleA/B thatwasfil
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     (lfpetitionerisa corporation)A petition underthe BankruptcyActof1898 orthe Bankruptcy Reform Actof1978 has
     previously been filed by oragainstthe debtor, orany ofi   ts affiliates orsubsidiaries, a di
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                   , a person in controlofthe debtor, a padnershi p in which the debtoris generalpadner, a generalpartner
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     orcorporations owni
                            ng 20% ormore ofitsvoting stock as follows:(Setfodh the complete numberand ti        tle ofeach
     such priorproceeding,date filed, nature ofproceeding,the Bankruptcy Judge and coud to whom assigned
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                  s an individual)A petition underthe BankruptcyReform Actof1978, including amendments thereof, has
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     thatwasfiledwithanysuch priorproceedingtsl.)
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Ideclare,underpenaltyofperjury,thattheforegoing istrue andcorrect                      .


 Executed at Encino                                           ,   California.
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  ate:              September24,2019                                                       Signature OfDebtor1



                                                                                           Signature ofDebtor2




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                                                                         tedStatesBankruptcyCoudfortheCentralDistrictofCalifornia.

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                                     Main Document     Page 2 of 42



           C
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                                     Party Search Results
  SearchCriteria:PartySearch;LastName:IDoost);FirstName:IAfsaneh)
  ResultCount:4(1page)
  CurrentPage:1

   Party Nam e        Case Num ber      CaseTitl
                                               e         Court          Date Filed   Date Closed
   Doost,Afsaneh     1:2011bk22838      AfsanehDoost     California     11/03/2011   12/13/2011
   (db)                                                  Central
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   Doost,Afsaneh     1:2014bk10396      AfsanehDoost     California     01/27/2014   08/15/2014
   (db)                                                  Central
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   Doost,Afsaneh     1:20161A10078      AfsanehDoost     Cali
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   Doost,Afsaneh     1:2019bk12284      AfsanehDoost    California      09/11/2019
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   Debtor1                     Afsaneh Doost
                               FirstName                              Middle Name                             LastName
   Debtor2
   (spouseif,filing)           FirstName                              MiddleName                '             LastName
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                     onorprofi
                             t-sharing plans, andothersimi
                                                         lardebts.(CopyIine6h.
                                                                             )                                                                             +$                              0.00

       9g.Total.Add Iines 9a through9f.                                                                                                                $                               c.Bc




Offi
   cialForm 106Sum                                            SummaryofYourAssets and Liabilitiesand Certain Statisticallnformation                                                                            page 2 of2
SoftwareCopyri
             ght(c)1996-2019BestCase,LLC-www.bestcase.
                                                     com                                                                                                                                                  BestCaseBankruptcy
            Case 1:19-bk-12284-MT                                 Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                                     Desc
                                                                   Main Document    Page 5 of 42
                       *   . :      * :*            @       . *. *                 *

   Debtor1                     Afsaneh Doost
                               FirstName                           MiddleNam'e                          LastName
   Debtor2
   (Spouse,iffiling)           FirstName                           MiddleName                           LastName
   Uni
     ted States BankruptcyCourtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                   A

   Case number 1:19-bk-12284
                                                                                                                                                                   Q Checkifthisisan
                                                                                                                                                                       amended filing

  O'icialForm 106 B
  Schedule IB-
             .Prope y                                                                                                                                                  d2as
  lneachcategol,separatelyIi standdescribeitems.Listanassetonlyonte.Ifan assetfitsinmoretbanonecategov listtheassetinthecategorywhereyou
  thinkit#1% best. Beascompleteand accurateaspos
  information.                                   sible. I       edpeopleare filingtogether, bothalz equallyre,sponsibleforsupplyingcorrect
                                                        ftwomarri
               lfmorespaceisneeded,attachaseparatesheettothisform. Onthetopofanyadditional    pagesv writeyournameandcasenumber(i
  Answereveryquestion          .
                                                                                                                                     fknown).
   *.
             Describe Each Residence, Bui
                                        lding,Land,orOtherRealEstateYouOwnorHaveanInterestIn
  1.Doyouownorhaveany legalorequitableinterestinanyresidence, building,Iand,orsimilarpropedy?
      E:!No.Gotopadz       .

      * Yes e ereistheproperty?
             .




                                                                            W hatisthepropedy?checkaIIthatappl
                                                                                                             y
        4567W hite Oak PLC
        Streetaddress,ifavailable orotherdescription                           @ Singl
                                                                                     e-familyhome                                           oonotdedud securedclaimsorexemptions. Put
                                                                               Z Duplexormul ti
                                                                                              -unitbui
                                                                                                     lding                                 theamountQfaqysecureddai msonSchedut  eDJ
                                                                                                                                            Creditorskk'
                                                                                                                                                       /?/HaveClaimsSecuredbyPrope/ty.
                                                                               D Condomi niumorcooperati ve
                                                                              Q Manufacturedormobi  lehome
        Encino                          CA        91316-0000                  D Land                                                       currentvalueofthe       Currentvalueofthe
                                                                                                                                           entirepropeo ?          porti
                                                                                                                                                                       onyouown?
        City                            State           ZlPCode               C1 Investmentproperty                                             $1,350,000.00       $1,350,000.00
                                                                              D mmeshare
                                                                              D Other                                                      Describethenatureofyourowneohipinterest
                                                                                                                                           (suchasfeesimple,tenancy bytheentireti
                                                                                                                                                                                es,or
                                                                           who hasaninterestinthepropeo ?checkone                          alifeestate),i
                                                                                                                                                        fknown.
                                                                            K Debtor1onl  y                                                FeeSim ple
        Los Angeles                                                           D Debtor2onl y
        County                                                                (:1 oebtor1andDebtor2onl
                                                                                                     y
                                                                              Z Atleastoneofthedebtorsandanother                           Q cjwec
                                                                                                                                             (se ink i
                                                                                                                                                     f
                                                                                                                                                     uct
                                                                                                                                                   str hi
                                                                                                                                                       tios
                                                                                                                                                          ns)i
                                                                                                                                                             scommuni
                                                                                                                                                                    typroperty
                                                                           Otherinformation you wish to add aboutthis item ,such as local
                                                                           property identification num ber:



 2. Add the dollarvalue ofthe portionyou ownforaIIofyourentries from Part1, including anyentri                                                esfor
    pagesyou1111h/flltttz'fl.1(h(1ftlr6311rt1.W rite tdklttrltlftll):rr'!:lrll...........................................................................=7:        1;111$15(1'tl61(1*tltl
 *.
           DescribeYourVehicles

Do you own,I
           ease,orhaveIegalorequitable interestin any vehicl
                                                           es,whethertheyare regi   stered ornot? Includeanyvehi
                                                                                                               cles you own that
someoneelsedri
             ves.lfyoul
                      ease a vehi
                                cle,al
                                     so reporti
                                              ton Schedule G.' Executory Contractsand Unexpired Leases.
3.Cars,vans,trucks,tradors,sportutili
                                    tyvehi
                                         cles,motorcycl
                                                      es
   K No
   D Yes


OfficialForm 106A/B                                                             ScheduleA/B:Property                                                                                l)age 1
SoftwareCopyright(c)1996-2019BestCase, LLC -www.bestcase.com
                                                                                                                                                                        BestCaseBankruptcy
                Case 1:19-bk-12284-MT                                 Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                                             Desc
                                                                       Main Document    Page 6 of 42
    Debtor1           Afsaneh Doost                                                                                                        Case
                                                                                                                                                   numberr/
                                                                                                                                                          fknown) 1:19-bk-12284
   4.EW atercraft,aircraft!motorhomes,ATVS and otherrecreationalvehicles,othervehicles,and accessories
       xamples:Boats,trall ers,motors, personalwatercraft,fishing vessels, snowmobi
                                                                                  les,motorcycle accessories
        * No
        D Yes


    5 Addthe dollarvalue ofthe podionyou own foraIlofyourentries from Part2 including any entriesfor
       )1!()(hilhr()tl1111hltrllttll()it(,(1ftlr0311rt1!.W ritetll1htrltlrrlk)thr.1(,re..........-...................,...-.......-...................................=lp
      .;
                                                                                                                                                                                          $0.00
    *
        .       Describe YourPersonaland Household Items
   Do you own orhave any legalorequitableinterestinanyofthefollowing items?                                                                                                C
                                                                                                                                                                             urrentvalue ofthe
                                                                                                                                                                           portion you own?
                                                                                                                                                                           Donotdeductsecured
                                                                                                                                                                           claimsorexemptions.
  6.Househol
           d goodsandfurnishinjs
        Examples:Majorappl  iances,furnl
                                       ture,l
                                            inens,china, kitchenware
        E:No
        K Yes. Describe.....

                                           Personalfurnitureand household oods                                                                                                          $3,750.00

                                           Personalhousehold oods,electronicsand othera Iiances                                                                                         $9,250.00

  7. Electronics
     Exampl es;Tel evisi
                incl   ons and radi
                                  os,'audi
                                         o,video,stereo,and digi
                                                               talequi
                                                                     pment,'computers,printers,scanners;music collections;electronicdevices
                   uding cel
                           lphones,cameras, media players,games
         K No
        1:1Yes.Describe.....
 8.Coll
      ediblesofvalue
   Examples:Antiquesand figuri
                             nes;pai
                                   ntings, prints,orotherartwork,'books,pi
                                                                         dures,orotheradobjeds;stamp,coin,orbaseballcard colledions;
            othercoll
                    edions, memorabilia,colledibles
        * No
        ElYes.Describe.....
 9.Equipmentforsportsand hobbi   es
   Examples:Sports,photographic, exercise,and otherhobbyequipment,'bicycles,pooltables, golfclubs,skis',canoes and kayaks'
            m usicalinstruments                                                                                           carpentrytools'
                                                                                                                                        ,                                     ,

     K No
     D Yes.Describe.....
 10. Firearms
         Examples:Pistol
                       s,rifl
                            es, shotguns,ammuni
                                              tion,and related equipment
    * No
    Q Yes.Describe.....
 11. Clothes
     Examples:Everydaycl
                       othes, furs,Ieathercoats, desi
                                                    gnerwear,shoes,accessories
    K No
    D Yes.Descri
               be.....
12.Jewelry
    KEx
      Namples:Everydayjewelry,costumejewel
                                         ry,engagementri
                                                       ngs!weddingrings,hei
                                                                          rloom jewelry,watches,gems, gold,si
                                                                                                            lver
            o
    D Yes,Describe ...
13. Non-farm animal
                  s
    Ekamples:Dogs,cats,birds,horses
    * No
    Q Yes.Describe ...
Of
 ficialForm 106A/B                                                                Schedul
                                                                                        e A/B:Propedy
                                                                                                                                                                                            929* 2
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcase.com
                                                                                                                                                                                  BestCaseBankruptcy
              Case 1:19-bk-12284-MT                                   Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                          Desc
                                                                       Main Document    Page 7 of 42
    Debtor1 Afsaneh Doost                                                                                                             Casenumber(ifk
                                                                                                                                                   nown) 1:19-bk-12284
   14.Anyotherpersonaland household items youdi
                                              d notalready Ii
                                                            st,including any heal
                                                                                th aidsyou did notIist
        K No
        Q Yes.Gi
               vespecificinformation.....

   15. Add the dollarvalue ofaIIofyourentries from Part3, including anyentries forpages you have attached
          fllr1311It1$.Writettlllt!1t1fllthljr11(jrtl..............................................................................                               $13,000.00

   *.
         a Describe YourFinancialAssets
   Do youown orhave any Iegalorequitable interestin any ofthe following?                                                                                   C
                                                                                                                                                             urrentvalueofthe
                                                                                                                                                           portion you own?
                                                                                                                                                           Do notdeductsecured
                                                                                                                                                           clai
                                                                                                                                                              m sorexemptions,
  16.Cash
     Examples:Money youhave inyourwall
                                     et, inyourhome,i
                                                    n asafedeposi
                                                                tbox, andon handwhen you5Ieyourpetition
      K No

  17.Deposil ofmoney
     Examples:Checking,savings, orothersnancialaccounts'
                                                       ,certi
                                                            ficatesofdeposit,'shares increditunions, brokerage houses,and othersim ilar
              insti
                  tutions.l
                          fyou have multi
                                        pleaccountswiththe same institution
     DN                                                                                                              ,   listeach.
              o
     . ves....,         ....     ...                                                       Insti
                                                                                               tuti
                                                                                                  onname:


                                             17.1.                                         Checking accountW ells Fargo Bank                                             $93.00

 18. Bonds,mutualfunds,orpubliclytraded stocks
     Examples:Bond funds, investmentaccountswith brokerage fi
                                                            rms, moneym arketaccounts
     * No
     D Yes..................                         Instituti
                                                             on orissuername:

 19, Non-publicly traded stockand interests in incorporated and unincorporated businesses,including an interestin an LLC,partnership
      jointventure                                                                                                                                                          ,   and
     K No
     I
     ZIYes.Givespeci
                   fi
                    cinformationaboutthem...................
                                               Nameofenti
                                                        ty:                                                                           % ofownership:
 20. Go
     N vernmentand corporate bonds and othernegotiable and non-negotiable instrumeno
     Negotiableinstrumentsinclude personalchecks, cashiers'checks,promi
                                                                      ssorynotes,and money orders.
      on-negotiable instrumentsare those you cannottransfertosomeone bysigning ordeli
                                                                                    veringthem .
    K No
    Z Yes.Givespecificinformationaboutthem
                                               Issuername:
21. Retirementorpension accounl
    Examples:Interests in 1RA,ERISA,Keogh,401(k)!403(b),thri
                                                           ftsavingsaccounts, orotherpensionorprofit-sharing plans
    * No
    Q Yes.Listeachaccountseparately.
                                           Type ofaccount:                                Insti
                                                                                              tuti
                                                                                                 on name:
22.Security deposi     ts and prepayments
   Yourshare ofa1lunuseddeposi       tsyou have made sothatyou maycontinue service oruse from a company
   Examples:Agreementswi        th I
                                   andlords,prepaidrent,publicutiliti
                                                                    es(el
                                                                        ectri
                                                                            c,gas,water),telecommunicationscompanies, orothers
  *
     No
  D Yes.....,.........,,.....                                 lnstituti
                                                                      on name orindivi
                                                                                     dual:
23.Annuities(A contractforaperiodi
                                 cpaymentofmoneytoyou, ei
                                                        therforIi
                                                                feorforanumberofyears)
   * No
  D Yes.............   Issuernameanddescription.
24.2
   In
    6ter
      Uesl in aneducation IRA, in an accountina qualified ABLE program ,orundera qualifiedstatetuition program.
          .S.C.jj530(b)(1),529A(b),and529(b)(1).
OfficialForm 106A/B                                                                ScheduleA/B:Propedy
                                                                                                                                                                          X ge 3
SoftwareCopyright(cj19*-2019BestCase, LLC -www.bestcase.com
                                                                                                                                                                BestCaseBankruptcy
           Case 1:19-bk-12284-MT                        Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                    Desc
                                                         Main Document    Page 8 of 42
    Debtor1        Afsaneh Doost                                                              Casenumber(ifknown) 1:19-bk-12284
       K No
       E:I5/es.,...,.......     lnsti
                                    tutionnameand descri
                                                       ption, Separatel
                                                                      yfil
                                                                         e the recordsofanyinterests.llU.
                                                                                                        S.C.5521(c):
   25.*Trusts,equitabl
                     eorfutureinterestsinpropeo (otherthananythingIistedinline1), andri
                                                                                      ghl orpowersexercisableforyourbenefit
          No
      Z Yes.Givespeci
                    fi
                     cinformationaboutthem ...
  26.Pa
     Etenî ,copyrigh/ ,trademarks,tradesecrets,andotherintellectualpropeo
      xamples:lnternetdomain names,websites,proceedsfrom royal
                                                             ti
                                                              esand Ii
                                                                     censi
                                                                         ng agreements
      * No
      Z Yes.Gi
             vespeci
                   ficinformati
                              onaboutthem...
  27.Li
      censes,franchises,and othergeneralintangibles
     Examples:Buil
                 dingpermits, exclusive Iicenses, cooperati
                                                          ve associati
                                                                     onholdi
                                                                           ngs, IiquorIicenses,professionalIicenses
      * No
      I
      ZIYes.Gi
             vespecificinformationaboutthem...
   Moneyorprope* owedtoyou?                                                                                            Currentvalue ofthe
                                                                                                                       podionyou ow n?
                                                                                                                       Do notdeductsecured
                                                                                                                       claimsorexemptions.
  28.Tax refunds owed to you
     K No
     E1Yes.Givespeci
                   fi
                    cinformati
                             onaboutthem ,includingwhetheryou alreadyfiledthe returnsand thetaxyears
                                                                                                           .......




 29.Family support
    *Examples:Pastdueorlumpsum alimony,spousalsuppod,chil
                                                        d suppod,maintenance,di
                                                                              vorcesettl
                                                                                       ement,propedysettlement
      No
     D Yes.Gi
            vespeci
                  fi
                   cinformati
                            on......

 3O.Otheramounts someoneowes you
    Examples:Unpaidwages,disabili
                                ty i
                                   nsurance payments disabi
                                                          litybenefi
                                                                   ts,sickpay, vacationpay,workers'compensation, Soci
             benefi
                  ts;unpaid I
                            oansyou made to someone,else                                                            alSecurity
     * No
     Q Yes.Gi
            vespeci
                  ficinformati
                             on..
 31.lnterests in insurance policies
      Examples:Heal
                  th,di
                      sability,orIi
                                  feinsurance;heal
                                                 thsavingsaccount(HSAI;credi
                                                                           t' homeowner's,orrenter's insurance
     K No
     D Yes.Nametheinsurancecompanyofeachpoli
                                           cyandI
                                                isti
                                                   tsvalue                .
                                       Companyname:                                  Beneficiary:                      Surrenderorrefund
                                                                                                                       value:
 32.Anyinterestin property thatis due you from someonewho has died
    Ifyou arethe benefi
                      ciary ofalivingtrust, exped proceedsfrom a Iife i
                                                                      nsurance pol
                                                                                 icy, orare currentl
    someone hasdied.                                                                               yenti
                                                                                                       tl
                                                                                                        edto receivepropedybecause
    K No
    Q Yes.Gi
           vespeci
                 fi
                  cinformati
                           on.,

33.Claims againstthird parti
                           es,whetherornotyou have filed a I
                                                           awsuitormadea demand forpayment
   Examples:Accidents, employmentdisputes,i
                                          nsurance cl
                                                    aims, orrights tosue
    * No
    Z Yes.DescribeeachcI
                       aim.........
34.Othercontingentand unli
                         qui
                           dated cl
                                  aims ofevel nature,including counterclaims ofthedebtorand righ/ to setoffclaims
    * No
    CIYes.Describeeachdai
                        m.....,...
35.Any financi
             alassel you did notalready Ii
                                         st
    1 No
    Q Yes.Gi
           vespeci
                 ficinformati
                            on..
OfficialForm 106A/B                                            Schedul
                                                                     e A/B:Propedy
                                                                                                                                      9a9e 4
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                                                                                                                            BestCaseBankruptcy
              Case 1:19-bk-12284-MT                                     Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                                      Desc
                                                                         Main Document    Page 9 of 42
   Debtor1 Afsaneh Doost                                                                                                                          Case number(ifknown) 1:19-b*-12284

   36. Add thedoll
                 arvalue ofaIIofyourentries from Part4, including any entriesforpagesyou have attached
                                                                                                                                                                                       $93.00
   *.
              DescribeAny Business-Related Property You Own orHave an InterestIn. Listany realestate in Part1.
  37.Doyouownorhaveanylegalorequitableinterestinanybusiness-relatedproperty?
    * No.GotoPad6.
     D Yes.Gotol
               ine38.

   *.     .   DescribeAny Farm -andCommercialFishing-RelatedPropedyYou OwnorHavean lnterestIn
              Ifyouown orhave an interestinfarmland, Iistitin Part1.                         .

  46.Do you own orhave any Iegalorequitable interestin any farm-orcommercialfi
                                                                             shing-related property?
         K No.GotoPart7.
         Q Yes.GotoI
                   ine47.

   *.
                     DescribeAIlPropedyYouOwnorHavean InterestinThatYouDidNotListAbove

  53.Do you haveotherpropertyofany kind you did notalready list?
     Examples:Seasontickets, countrycl
                                     ubmembership
        * No
        Q Yes,Gi
               vespeci
                     ficinformati
                                on.........

  54. Add the dollarvalue ofallofyourentries from Part7. W ri
                                                            te thatnumberhere ....................................                                                                     $0.00
   *.
         l        Listthe Totals ofEach Pad ofthis Form

  Ei65. 6311rt1:lr()t1!Irth11lf,istlltl,,lirl4,;, .......................................................-.....................-........................-..............
                                                                                                                                                                              $1,350,000.00
  56. Part2:Totalvehicles,line5                                                                                           $0.00
  57. Pad 3:Totalpersonaland househol   ditems,I ine16                                                               $13,000.00
  58. Part4:Totalfinancialassets, I
                                  ine36                                                                                  $93.00
  59. Part5:Totalbusiness-related property,Iine45                                                                         $0.00
  60. Part6:Totalfarm-and fishing-related property,Iine52                                                                 $0.00
  61. Part7:Totalotherpropeo notlisted,line54                                                          +                  $0.00
  62. Totalpersonalproperty. Add Ii
                                  nes56through61...                                                                 $13,093.00               Copypersonalpropedytotal             $13,093.00
         TotalofaIIproperty on ScheduleA/B.AddIine 55 + Iine 62
                                                                                                                                                                           $1,363,093.00




OfficialForm 106A/B                                                                   Schedul
                                                                                            e A/B:Propedy
                                                                                                                                                                                         page 5
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              Case 1:19-bk-12284-MT                    Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                Desc
                                                       Main Document    Page 10 of 42
                        *   . *   * *-     *     . *

    Debtor1                  Afsaneh Doost
                             FirstName                 MiddleName                  LastName
    Debtor2
    (Spouseif,filing)        FirstName                 MiddleName                  LastName
    Uni
      ted States BankruptcyCoudforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                   A

    Case number 1:19-bk-12284
    (ifknown)
                                                                                                                              D Checki
                                                                                                                                     fthisi
                                                                                                                                          san
                                                                                                                                  amendedfili
                                                                                                                                            ng
   OfficialForm 106C
   Schedule C :T he Proped y Y ou G laim as Exem pt
                                                                                                                                                    4/19
  Be ascomplete andaccurate aspossi ble. lftwo married peopleare filing togetherbothare equall
                                                                                             y responsibleforsuppl
                                                                                                                 ying correctinformation ing
  the propedyyouIisted on ScheduleA/8.' Pmperty(Offi                           ,
  needed, fi                                        cialForm 106A/B)asyoursourœ , listthe propertythatyou claim asexempt. lfmorespace. Us
                                                                                                                                        is
           lloutand att
                      achtothispage as manycopi  esofPart2:AdditionalPageas neceessary.Onthetop ofany additionalpages
  casenumber(ifknown).                                                                                                     , wr
                                                                                                                              iteyournameand
  Foreach item ofproperty you claim as exempt,you mustspecifytheamountofthe exemption you claim
  specific dollaramountas exempt. Alternatively,youmayclaim thefullfairmarketvalueofthepropeo bei
                                                                                                    . One wayofdoi
                                                                                                      ng exemptedung    so isto state a
                                                                                                                      pto
  anyapplicablestatutol Iimit. Some exempti ons-u uchasthose forhealth aidsvrightsto receive certain benefits             theamountof
  funds--e aybeunlimitedindollaramount. However,ifyou claim an exem ption of100% offairmarketvalue under,a     n dta x-
                                                                                                                      ex emgtretirement
                                                                                                              a law thatIiml
  exemptionto a padiculardollaramountand thevalue ofthe property is detennined to exceed thatam ount                        ts the
  to the appli
             cable statutoryamount.                                                                   ,yourexempt   ion would be limited
   *
       .         Identi
                      fythe PropertyYou Claim as Exempt
   1. w hi
         ch setofexemptions are you claiming? Checkoneonly even ifyourspouse iss'
                                                                                l/ng withyou
                                                                           ,                                .

           K Youareclaimingstateandfederalnonbankruptcyexemptio
                                                               ns. 11U.S.C.j522(b)(3)
           D Youarecl
                    aimingfederalexemptions. 11U.S.C.5522(b)(2)
           Foranypropeo youIistonSchedule4/8 that#ouclaim asexempt,fillin the information below .
           Bri
             4fdesçripti
                       onofthe propertyandlineon        Currentvalueofthe      Amountofthee
           Sthèqul.+athatI
                         yt:thispropefty                portionyouown                         xemption#ouclaim         Specificlawsthatall
                                                                                                                                         owexemption
                                                        Copytheval
                                                                 uefrom        Cbeckonl
                                                                                      yopeboxforeachoxnmption
                                                        ScheduleA/S                                                .
           4567W hiteOakPLC Encino, CA                      $4'ascycx occ
           91316 LosAngelesCounty                                              .                       $c.c0           C.C.P.j703.140(b)(1)
           Linefrom ScheduleA/B:1.1                                            Q 100% offairmarketvalue,upto
                                                                                   any applicabl
                                                                                               e statuto!y Iimit
           Checking accountWells Fargo Bank                         $9:
           Li
            nefrom Schedul
                         eA/8:17.1                                     cc
                                                                       .       .                          $:a.cc C.C.P.j703.140(b)(5)
                                                                               E1 10Q0/0offairmarketvalue,upto
                                                                                   any applicabl
                                                                                               e statutorylimit
       Single FamilyResidence                               $425:
       4567W hiteOak PI.                                     '   ,  :::.::     s                   $jccjggn.pn C.C.P.1 703.140(b)(1)
       Encino,CA 91316                                                         D 100% offairmarketvalue
       Line from ScheduteA/;:                                                                               , upt
                                                                                                                o
                                                                                   any applicablestatutorylimit

       Arebyou
       (Su     cl
               oaaidj
           jed t   mingahomesteadexemptionofmorethan$170,350?
                    ustmenton4/01/22andevery3 yearsafterthatforcasesfi
                                                                     led onorafterthe date of
       K No                                                                                  adjustment)
       Q Yes.Di
              dyouam uirethepropertycoveredbytheexemptionwithin1,215 daysbeforeyoufiledthiscase?
         U No
         Q Yes




OfficialForm 106C                               Schedule C:The Property You Claim asExempt
SoftwareCopyri
             ght(
                c)1996-2019BestCase,LLC -www.bestcase.com                                                                                    page 1of1
                                                                                                                                       BestCase Bankruptcy
               Case 1:19-bk-12284-MT                           Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                   Desc
                                                               Main Document    Page 11 of 42
                       @     . @   @ #*        @         - *

    Debtor1                   Afsaneh Doost
                              Fif'stName                       MiddleName               LastName
   Debtor2
   (spouseif,filing)          FirstName                        MiddleName   '-    '   LastName
   Uni
     ted States Bankruptcy Courtforthe: CENTRAL DISTRICT OF CALIFORNIA

   Case number 1:19-bk-12284
   (ifknown)
                                                                                                                                       Q Checki
                                                                                                                                              fthi
                                                                                                                                                 sisan
                                                                                                                                          amended filing
  Oï cialForm 106D
  Schedule D :Creditors W ho H ave Claim s Secured by Proped y                                                                                             12/15
   Be as complete and accurate as possible. lftwomarriedpeoplearefilingtogether, bothareequall
                                                                                             y responsibleforsupplyingcorrectinformation. Ifmorespace
  is needed copytheAdditionalPage,filli  tout num bertheentries,andattachitto thisform
       mbe l                                         ,                                         .   Onthetopofanyadditionalpages,writeyournameand case
  nu         r(ifknown).
  1.Doanycreditorshaveclaimssecuredbyyourproperty?
            Q No.Checkthisboxandsubmi       tthisform tothecourtwithyourotherschedul
                                                                                   es.You have nothing else to reporton thisform
                                                                                                                                 .
            K Yes. Fillinallofthe informationbelow.
   *
       .    ListAIISecured Claims
  2.
  f  Li
      stal
         1 securpdclaims. Ifacreditorhasmorethancnesecuredclaimplistthecreditorseparately              ColumnA               ColumnB              ColumnC
  oreachclaim.Ifmorethancnecreditorhasapadicularclaim, IisttheothefcreditorsinPart2.As                 Amountofclaim         Valueofcollateral    Unsecured
  muchasptm ible,kisttbeclaimsinalphabetleealOrdefaccordingt:thecreditör':name.
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  2.                                                                                                   value ofcollateral.   claim                I
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        Bank OfAmerica                             Describethepropertythatsecuresthecl
                                                                                     aim:              $1,293,000.00           $1,350,000.00                $0.00
         redi
            torsName                               4567w hite OakPLC Encino, CA
                                                   91316 LosAngeles County
             1800 Tapo Canyon Rd                   M ofthedateyoutile,theclaim is:checkaIthat
                                           .       apply
            SimiValley,CA 93063                    D contingent
            Number,St
                    reet,Cit
                           y,State&ZipCode         D Unli
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                                                      sputed
  W ho owes thedebt? checkone.                     Nature ofIien.CheckaIIthatapply.
  K oebtor1only                        Anagreementyoumade (suchasmodgageorsecured
  E1Debtor2only                         carloan)
  Q oebtor1andDebtor2only            Q StatutoryIi
                                                 en(suchastaxIien, mechanic'sIien)
  D Atleastoneofthedebtorsandanother Q Judgmentli enfrom aI
                                                          awsuit
  Q Checki fthi
              sclaim rel
                       atestoa       Q Other(includingari
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           com munity debt
  Datedebtwasincurred                                      Last4digitsofaccountnumber


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   Ifthisthe dollarvalueofyourentriesinColumnA onthi spage. Wr
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           isthe Iastpageofyourform ,addthedollarvaluetotalsfrom aIIpages
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   Writethatnumberhere:                                                           .                           $1,293,000.00
  *-        ListOthers to Be Noti   fied fora DebtThatYou Already Listed
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Offi
   cialForm 106D                               Schedule D:CreditorsW ho Have Claims Secured by Pro* rty
                                                                                                                                                       page 1of1
SoO areCopyright(c)19* -2019BestCase,LLC-www.bestcase.com
                                                                                                                                                 BestCase Bankruptcy
           Case 1:19-bk-12284-MT                     Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                  Desc
                                                     Main Document    Page 12 of 42
                     :   . :   # :*       @      *

  Debtor1                 Afsaneh Doost
                          FirstName                  MiddleName                     LastName
  Debtor2
  (Spousei
         f,filing)        FirstName                  MiddleName                     LastName
  Uni
    tedStatesBankruptcyCourtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                A

  Casenumber 1.
              .19-bk-12284
  (ifknown)
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 OfficialForm 106E/F
 Schedule E/F:Creditors W ho Have Unsecured Claim s                                                                                        12/15
 Beascom pleteandaccurateaspossible. UsePad 1forcreditorswithPRIORIW claimsandPart2forcreditorswith NONPRIORIR claims
 anyexecutol contractsorunexpiredIeases thatcould resultin a claim                                                   . Li
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  cheduleG:ExecutoryContractsand UnexpiredLeases(Offi
                                                    cialForm 106Gj.Donotincludeanycreditoo with padiall
                                                                                                      ysecuredclaimsthatare Ii
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 Schedul
 I       eD:Creditoo W hoHaveClaimsSecuredbyProperty. lfmorespaceis needed,copythePartyouneed, 5IIitout,numbertheentriesinthe boxesonthe
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 nameand casenumber(ifknown).                                                                                                                ,   writeyour
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           Li
            stAIlofYourPRIORITY Unsecured Clai      ms
  1. Doanycreditoo havepriorityklnsecuredclaimsagainstyou?
     K No. Gotopart2.
       Q ves.
  -.
         ListAIIofYourNONPRIORITY Unsecured Claims
 3. Doanycredi
             too have nonpri
                           oriW unsecured claimsagainstyou?
       Z No.Youhavenothingtoreporti
                                  nthi
                                     spart. Submitthisform tothecoudwithyourotherschedules     .


       * yes.
        ListaI1ofyournonpriorityunsecuredclaimsinthealphabeticalorderofthecreditorwhoholdseachclaim. Ifacreditorhasmorethanonenonpriority
       unsecureddaim,Iistthecreditorseparatelyforeachclaim. Foreachcl aim listed,ident'
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       thanonecreditorholdsapadicularclaim,listthenthercreditofsin Part3.lfyouhave morethanthreenonpriorityunsecuredclaimsfillouttheContinuationPageof
       Pad2.
                                                                                                                                   Totalclaim
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          N                                                Last4di
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                                                                  l ofaccountnumber d#30                                                          $68.21
              onpriorityCreditor's Name
          404 Brock Dr.                                    Whenwasthedebtincurred?
          Bloom ington,IL61702
          NumberStreetCity State Zip Code                  M ofthedateyou file, thecl
                                                                                    aim is:CheckaIIthatapply
          w ho incurred the debt? Checkone.
          K Debtor1only                                    Q contingent
          Q Debtor2only                                    Q Unli
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          D Debtor1andDebtor2only                          D Di
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          K No                                             Q Debtstopensi
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          D Yes                                            K other.specify Creditcard Lasytused 2009




OfficialForm 106 E/F                             ScheduleE/F:CreditorsW hoHaveUnsecuredClalms
                                                                                                                                                 Page 1 of5
SoftwareCopyright(c)1996-2019BestCaselLLC-www.bestcase.com                              44560                                           BestCaseBankruptcy
         Case 1:19-bk-12284-MT                  Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07 Desc
                                                Main Document    Page 13 of 42
   Debtor1 Afsaneh Doost                                              Casenumber(i
                                                                                 fknown) 1:19-b*-12284
  4.
   2      AW A Collections                              Last4di
                                                              gitsofaccountnumber 4250                                          $4,812.00
          NonpriorityCreditor's Name
          P.O.Box 5545                                  Whenwasthedebti ncurred?
          % ke Forest,CA 92630
          NumberStreetCityStateZipCode                  M ofthe dateyou tile, theclaim is;CheckalIthatapply
          W ho incurred the debt? Checkone.
          K Debtor1only                                 Z Conti
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              eastoneofthedebtorsandanother             TypeofNONPRIORIR unsecured claim:
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          K No                                          Q Debtstopensionorprofi
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          Q Yes                                         * otherspecify Creditcard Lastused 02/2009
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          CHASE                                         Last4digil ofaccountnumber 9052
          NonpriorityCreditor's Name                                                                                             $869.94
          P.O.Box94014                                 Whenwasthedebtincurred?
          Palatine,IL 60094
          NumberStreetCityStateZipCode                 M ofthedateyoufile,theclaim is;Checkallthatapply
          Who incurredthedebt?checkone.
         * Debtor1onl
                    y                                  Q contingent
         D Debtor2onl
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         D oebtor1andDebtor2only                       Q Disputed
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             eastoneofthedebtorsandanother             TypeofNONPRIORITY unsecuredclaim :
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         K No                                          Q Debtstopensionorprofit-shari
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         Q Yes                                         * otherspeci
                                                               .   fy creditcard Iastused 11/09

         DW P                                          Last4digil ofaccountnumber 1000
         Nonpriority Creditor'sName                                                                                           $2,317.00
                                                       Whenwasthedebtincurred?         09/10/2019
         111 N.Hope St.
         Los Anaeles,CA 90012
         Numberst -reetcity state zipcode      '       Asoftheuateyousle,theclaim i
                                                                                  s:checkallthatapply
         W ho incurred the debt? Checkone.
         K Debtor1onl
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         Q Debtor2only                                 Q Unl
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         Q Debtor1andDebtor2onl y                      D Di
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        lstheclaim subjecttooffset?                    repodaspriorityclaims
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        Q Yes                                          * other.speci
                                                                   fy W aterand Electricity Bill




OfficialForm 106E/F                              ScheduleE/F:CreditorsW hoHaveUnsecuredClaims                                   Page 2 of5
SoftwareCopyright(c)1996-2019BestCase,LLC-www.bestcase.com                                                                BestCaseBankruptcy
         Case 1:19-bk-12284-MT                   Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07 Desc
                                                 Main Document    Page 14 of 42
   Debtor1 Afsaneh Doost                                               Casenumber(i
                                                                                  fknown) 1:19* k-12284
          equitable accentfinancial,LLC                  Last4digil ofaccountnumber 4237                                          $4,429.00
          NonpriorityCreditor's Name
          5030 Cam iono De La Siesta #340                Whenwasthedebtincurred?
          San Diego,CA 92108
          NumberStreetCityStateZip Code                  M ofthe dateyou 5le, theclaim is:CheckaIIthatapply
          W ho incurred the debt? Checkone.
          K Debtor1only                                  Q conti
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          Q Debtor2only                                  Q Unli
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                aim subjecttooffset?                     reportaspriorityclaims
          K No                                           Q Debtst
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          L Yes                                          K otherspecify Creditcard assigned to collection
                                                                 .




          Haleh mansouri                                 Last4dlgi
                                                                 tsofaccountnumber Doost
          Nonprioritycreditor'sName                                                                                               $2,300.00
          624 S.Grand Ave.,32200                         Whenwasthedebtincurred?         2010
          Los Angeles,CA 90017
         NumberStreetCityStateZipCode                    Asofthedateyoufile, theclaim is:CheckaIlthatapply
         W hoincurredthedebt?Checkone.
         K Debtor1onl y                                  D contingent
         D Debtor2only                                   Q Unli
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         Q Debtor1andDebtor2onl   y                      Q Di
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         stheclaim subjectto offset?                    reportaspriorityclaims
         K No                                           Q Debtstopensi
                                                                     onorprofit-shari
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         D ves                                          K Other. Specify IegalFees

         Linden Trust                                   tast4 digie ofaccountnumber 2319                                        $20,000.00
         NonpriorityCreditor'sName
         7215Canby Ave.                                 W henwasthedebtincurred?        01/19/2019
         Reseda,CA 91335
         NumberStreetCityStateZipCode                   M ofthe dateyou file,theclaim is:Check aIIthatapply
         w ho incurredthedebt?checkone.
         K Debtor1only                                  D contingent
         D Debtor2only                                  Q unli
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             eastoneofthedebtorsandanother              Type ofNONPRIORIR unsecured claim:
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         D Yes                                          * other.specify personalIoan




OfficialForm 106E/F                              ScheduleE/F:CreditorsW ho HaveUnsecured Clalms                                    Page3of5
SoftwareCopyright(c)1996-2019BestCase,LLC-www.bestcase.com                                                                   BestCaseBankruptcy
         Case 1:19-bk-12284-MT                  Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                Desc
                                                Main Document    Page 15 of 42
   Debtor1 Afsaneh Doost                                                               Casenumber(i
                                                                                                  fknown)          1:19-bk-12284
   4.8     MichaelS.Hunt                                 Last4 digie ofacçountnumber 8943
           Nonpriori
                   N Creditor'
                             sName                                                                                                     $21,613.39
          151 BernalRoad #8                             W hen was the debtincurred?
          San Jose,CA 95119
          NumberStreetCity State Zip Code               M ofthe date you tile,the claim is:CheckaIIthatapply
          w ho incurred the debt? Checkone.
          Q Debtor1onl y                                D contingent
          Q Debtor2onl y                                D Unli
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          (ZIoebtor1andDebtor2onl  y                    C1Disputed
          K AtIeastoneofthedebtorsandanother            TypeofNONPRIORIW unsecuredclaim:
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          stheelaim subjecttooffset?                    repodaspriorityclaims
          * Nc                                          Q Debtstopensionorprofi
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          Q Yes                                         K               creditcard debtassigned to collection
                                                          other.Speci
                                                                    fy reduced tojudgment

  4.
   9      Nor
          Nonpds
              rititr
               or  yom/  Fai
                     credi  scol
                         tor'   lectlnc
                              Name                      Last4digi
                                                                tsofaccountnumber 0098                                                     $475.00
          P.O.Box 7148                                  Wbenwasthedebtincurred?
          Bellevue,W A 98008
          NumberStreetCityStateZipCode                 Asofthedateyoufile, theclaim is:CheckaIlthatapply
          W hoincurredthedebt? Checkone.
          K Debtor1only                                Q Conti
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          Q Debtor2only                                Q Unl
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          Q Debtor1andDebtor2only                      D Di
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         Istheclaim subjecttooffset?                   repodaspriorityclaims
         K so                                          Z Debtstopensi
                                                                    onorprofi
                                                                            t-sharingplans, andothersimilardebts
         IZIYes                                        * otherspecify Creditcard Lastused 11/09

         Sears Gold MasterCard                         Last4digitsofaccountnumber 0917
         Nonpriority creditor's Name                                                                                                   $5,177.45
         726 Echange Street#700                        Whenwastledebtincurred?
         Buffalo,NY 14210
         NumberStreetCitySlteZipCode                   Asofthedateyoutile, theclaim is:CheckaI$thatapply
         W ho incurredthedebt?Checkone.
         K Debtor1onl
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         * No                                          Q Debtstopensi
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OfficialForm 106 E/F                             ScheduleE/F:CreditorsW hoHaveUnsecuredClaims
                                                                                                                                         Page 4 of5
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                                                                                                                                   BestCaseBankruptcy
               Case 1:19-bk-12284-MT                   Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07 Desc
                                                       Main Document    Page 16 of 42
   Debtor1 Afsaneh Doost                                                     Casenumber(yknown) 1:19-bk-12284
   4.1
   1           T Mobile                                        Last4digil ofaccountnumber 9363
               Nonprioritycreditor's Name
                                                                                                                                             $1,331.53
               P.0 .Box 51843                                  whenwasthedebti
                                                                             ncurred?            04/13/2017
               Los Angeles,CA 90051
               NumberStreetCitySlteZipCode                     K%ofthedateyoufile, theclaim is:CheckalIthatapply
               W ho incurred the debt? Checkone.
               K Debtor1onl y                                  Q conti
                                                                     ngent
               Q Debtor2onl y                                  D Unli
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               Q Debtor1andDebtor2onty                         E1Di
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               D AtIeastoneofthedebtorsandanother              TypeofNONPRIORITYunsecured claim:
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               Istheclaim subjecttooffset?                     repodaspriorityclaims
               K No                                            Q Debtstopensionorprofi
                                                                                     t-sharingpl
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               C5yes                                           K Other.Specify
   *
       .         ListOthersto Be Notified Abouta DebtThatYou Already Listed
 5.Use thi
   istryi spageonlyifyotlhaveotheo to benotifiedaboutyourbankruptcy, foradebtthatyoualreadyIisted inPart,s 1or2.Forexample,ifacollectionagency
         ng to colled from you fora debtyou owe to someone else Iistthe originalcreditorin Part.s 1or2,then Iistthe collection agency here
   have morethan one credi  torforanyofthedebtsthatyouIistedI  !nPads1or2                                                                 .Si
                                                                                                                                            milarlyqifyou
                                                                              ,I
                                                                               istthe additionalcredltoo here. Ifyou do nothave additionalpeo ons to be
   notified forany debl in Pads 1 or2, do notfil
                                               loutorsubmitthispage.
  -
       -   z     Add the Amounl forEach Type ofUnsecured Claim
 6.Totaltheamountsofcedaintypesofunsecuredclaims. This informationisforstatisticalreportingpurposesonly.
      typeofunsecured claim .                                                                                      28U.S.
                                                                                                                        C.9159.Addtheamountsforeach
                                                                                                              TotalClaim
                        6a. Dom esticsupportobligations                                         6a.
  Total                                                                                                $                    0.00
  claims
 from Part1             6b. Taxesandcertainotherdebe #ouowethegovernment                        6b.
                                                                                                       $                    0.00
                        6c. Cl
                             aimsfordeathorpersonalinjurywhileyouwere i
                                                                      ntoxicated                6c.    $                    0.00
                        6d. Other.Add allotherpriorityunsecured claims.W rite thatamounthere.   6d.    $                    0.00
                        6e. TotalPriority.Add Iines 6athrough6d.                                6e.   $                     0.00

                                                                                                              TotalClaim
                             Studentloans                                                       6f.   $                     0.00
 Total
 claims
 from Part2             6g. Obligationsarlsingoutofaseparationagreementordivorcethat
                             youdidnotreqodaspriorityclaims                                     6g.   $                     0.00
                       6h. Debtsto penslonorprost-sharing plans, andothersimilardebt.s          6h.   $                     c.00
                       6i. Other.Add a1Iothernonpriority unsecured claims. W rite thatamount    6i.
                           here.                                                                      $                63,393.52
                             TotalNonpriority.AddIines6fthrough6i.                                    $                63,393.52




OfficialForm 106E/F                              ScheduleE/F:CreditorsW ho HaveUnsecured Claims                                              Page5of5
SoftwareCopyright(c)1996-2019BestCase,LLC-www.bestcase.com                                                                             BestCaseBankruptcy
            Case 1:19-bk-12284-MT                          Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                      Desc
                                                           Main Document    Page 17 of 42
                       @    . #     * #e      *      w *

   Debtor1                    Afsaneh Doost
                              FirstName                    Middle Name           LastName
   Debtor2
   (Spouseif,filing)          FirstName                    MiddleName            LastName
   UnitedStatesBankruptcyCoud forthe: CENTRAL DI
                                               STRI
                                                  CT OF CALIFORNI
                                                                A

   Case number 1:19-bk-12284
   (ifknown)
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 OsicialForm 106G
 Schedule G :Executory Contracts and Unexpired Leases                                                                                       12/1s
 Beascompleteand accurate as possible. Iftwo married people are filing togetheq both are equall
                                                                                              y responsible forsupplying correct
 information.lfmore space is needed,copy the addi
                                                tionalpage,fillitout,numbertheentri   es,and attach itto thi
                                                                                                           s page.On the top ofany
 additionalpages,wri
                   teyournameandcasenumber(ifknown).
         Do you have any executory contracts orunexpired leases?
         K No. Checkthis box and filethisform withthe courtwithyourotherschedules. You have nothing elsetoreportonthisform
         Q Yes.Fi
                llinaIIoftheinformati
                                    onbelow eveni
                                                fthecontactsofIeasesarel
                                                                       istedonScheduleA/&Prope                   .
                                                                                              rly(Offici
                                                                                                       alForm 106A/B).
         Li
         exstseparately each person orcompany with whom you have thecontractorlease. ThenstatewhateachcontractorIeasei
                                                                                                                     sfor(for
           ample,rent,vehiclelease,cellphone).Seethei
                                                    nstructionsforthisform intheinstrudionbookl
                                                                                              etformoreexamplesofexecutorycontracts
         and unexpired I
                       eases.

         Person orcompany wi
                           th whom you havethecontractorIease                     State whatthe contractorlease is for
                             Name,Number,Street,Ci
                                                 ty'StateandZlPCode
   2.1
           Name



          City                                    State               Z1PCode
   2.2
          Name

          Number           Street

          City                                    State               ZIPCode
   2.3




          City                                    State               ZIP Code
  2.4
          Name



          City                                    State               ZIP Code
  2.5
          Name

          Number           Street




OfficialForm 106G                              Schedule G:Executory Contractsand Unexpired Leases                                      Page 1of1
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             Case 1:19-bk-12284-MT                     Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07               Desc
                                                       Main Document    Page 18 of 42
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 Debtor1                  Afsaneh Doost
                          FirstName                    MiddleName       LastName
 Debtor2
 (Spouseif,fiiing)        FirstName                    MiddleName       LastName
 United StatesBankruptcy Courtforthe: CENTRALDISTRICT OF CALIFORNI
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 Case number 1:19-bk-12284
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O #icialForm 106H
Schedule H:YourC odebtors                                                                                                       12/15
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q eoplearefilingtogether,bothareequallyresponsibleforsupplyingcorrectinformation.I     fmorespaceisneeded,copytheAdditionalPage,
flllitout,and num - rtheentries in the boxes on the Ieft Attach the AdditionalPage tothi
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OfficialForm 106H                                                   Schedule H:YourCodebtors                               Page 1 of1
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            Case 1:19-bk-12284-MT                   Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                                                         Desc
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          stmonthlygrosswages,salary,and commissions(beforeaIlpayroll
         dedudions).I
                    fnotpaidmonthl
                                 y,calcul
                                        atewhatthemonthlywagewouldbe.                                             $                    2,380.00                 $        3,600.00
3. Estim ate and Ii
                  stmonthly overtim epay.                                                                        +$                             0.00            +$           0.00
         Calculate gross Income.Add Iine 2+ Iine 3.                                                         4. $                 2,380.00                           $   3,600.00




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   cialForm 1061                                                           Schedule 1:YourIncome                                                                                    gage 1
       Case 1:19-bk-12284-MT               Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                 Desc
                                           Main Document    Page 20 of 42

 oebtor1 Afsaneh Doost                                                              Casenumberfi
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 5. ListaIIpayrolldeductions:
    5a. Tax,Medicare,and SocialSecuritydeductions                              5a. $            0.00 $                     0.00
    5b. Mandatoe contributions forretirementplans                              5b. $            0.00 $                     0.00
    5c. Volunta? contributionsforretirementplans                               5c. $            0.00 $                     0.00
     5d. Requiredrepaymenl ofretirementfund Ioans                              5d. $            0.00 $                     0.00
     5e. Insurance                                                             5e. $            0.00 $                     0.00
     5f, Domesticsupportobligations                                            5f. $            0.00 $                     0.00
     5g. Uniondues                                                             5g. $            0.00 $                     0.00
     5h. Otherdeductions.Specify:                                              5h.+ $           0.00 + $                   0.00
     Addthepayrolldeducti
                        ons.AddIi
                                nes6a+5b+5c+5d+5e+5f+5g+5h.                    6. $             0.00 $                     0.00
     Calculatetotalmonthlytake-home pay. SubtractIine6 from Iine 4.                 $       2,380.00 $                 3,600.00
     ListaIIotherincome regularly recei
                                      ved:
     8a. Netincomefrom rentalpropeo andfrom operatingabusiness,
          profession,orfarm
          Attacha statementforeach propertyand business showing gross
          receipts,ordinary and necessarybusinessexpenses,andthe total
          monthl
               ynetincome.                                                     8a. $             0.00      $                 0.00
     8b. Interestand di vidends                                           8b. $                  0.00      $                 0.00
     8c. Fam ily supportpaymenl thatyou,a non-filing spouse,ora dependent
         regularly receive
         Incl
            ude alimony,spousalsuppod,chil
                                         d support,maintenance,divorce
          settl
              ement,andpropedysettl
                                  ement.                                       8c. $             0.00      $                0.00
     8d. Unemploymentcompensation                                              8d. $             0.00      $                0.00
     8e. SocialSecurity                                                        8e. $             0.00      $                0.00
     8f. Othergovernmentassi
                           stance thatyou regularl
                                                 y receive
          Incl
             udecashassistanœ andthevalue(i  fknown)ofanynon-cashassistanœ
          thatyoureœi  ve,suchasfoodstamps(benefitsundertheSupplemental
          NutritionAssistanceProgram)orhousingsubsidi
                                                    es.
         Speci
             fy:                                                               8f. $            0.00 $                      0.00
     8g. Pension orretirementincome                                            8g. $            0.00 $                      0.00
     8h. Othermonthl y income.Speci
                                  fy: rentfrom son                             8h.+ $         750.00 + $                    0.00
         rentfrom daughter                                                          $         750.00 $                      0.00
         room ate rental                                                            $       1,000.00 $                      0.00
     Add aIIotherincome.Add Iines 8a+8b+8c+8d+8e+8f+8g+8h.                     9. $         2,500.00       $                  0.00

 10. Calculate monthly income.Add Ii ne 7 + Iine9.                             10. $     4,880.00 + $ 3,600.00 = $                  8,480.00
     Addtheentries inIine 10 forDebtor1and Debtor2 ornon-fili
                                                            ngspouse.
     State aIIotherregularcontributions to the expenses thatyou Iistin Schedule J.
     Include contri
                  butionsfrom an unmarri
                                       ed partner,membersofyourhousehold, yourdependents,yourroommates,and
     otherfriendsorrelatives.
     Do noti nclude anyamounts alreadyincl
                                         uded in Ii
                                                  nes2-10oramounts thatare notavailabl
                                                                                     e topayexpenses Ii
                                                                                                      sted inSchedule J.
     Speci fy:                                                                                                   11. +$                 0.00
12. Add theamountinthe Iastcolum n ofIine 10to theamountin Iine 11. The resulti sthecombined monthly income,
    W ri
       tethatamounton the SummaryofSchedules and StatisticalSummary ofCertain Liabil
                                                                                   iti
                                                                                     esand RelatedDala, ifit
     appli
         es                                                                                                       12. $             8,480.00
                                                                                                                           Com bined
                                                                                                                           monthly income
13. Do youexN ctan increase ordecrease withinthe yearafter#oufile thisform?
          No.
    Q     Yes.Explain:




Offi
   cialForm 1061                                              Schedule 1:Yourlncome                                                  gage 2
       Case 1:19-bk-12284-MT                Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                 Desc
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 Debtor1             Afsaneh Doost                                                            Checkifthisis:
                                                                                              D Anamendedfiling
 Debtor2                                                                                      Q A suppl
                                                                                                      ementshowingpostpeti
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                                                                                                                          onchapter
 (Spouse,i
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            ng)                                                                                      13 expensesasofthe foll
                                                                                                                           owing date:
 UnitedStatesBankruptcyCoudforthe: CENTRALDISTRI
                                               CT OF CALIFORNIA                                      MM /DD /YYYY
 Casenumber 1:19-bk-12284
 (I
  fknown)


 O#icialForm 106J
 Schedule J:YourExpenses                                                                                                                  l2/ls
 Beascomplete and accurate aspossible.Iftwo married people are filing together,both areequally responsibl
                                                                                                        e forsuppl
                                                                                                                 ying correct
 information.Ifmore space is needed,attach anothersheetto thisform.On the top ofanyadditionalpages,wri  te yourname and case
 number(ifknown).Answerevery question.
 *-        Describe YourHousehold
 1. Isthi
        sajointcase?
    K No Goto Iine 2.
           .

    D Yes.DoesDebtor2Iiveinaseparatehousehold?
          Q No
          Q Yes.Debtor2mustfi
                            leOfficialForm 106J-2,ExpensesforSeparateHousehol
                                                                            dofDebtor2                  .



      Doyouhavedependents? K No
      Donotl
           istDebtor1and   Q yes. Filloutthis informationfor            Dependent'srelationshipto       Dependent's     Doesdependent
      Debtor2.                             eachdependent.............   Debtor1orDebtor2                age             Iivewithyou?
      Do notstate the                                                                                                   Q No
      dependents names.                                                                                                 Q Yes
                                                                                                                        D No
                                                                                                                        D Yes
                                                                                                                        Q No
                                                                                                                        Q Yes
                                                                                                                        Q No
                                                                                                                        L Yes
      Doyourexpensesinclude            1 xo
      expensesofpeopleotherthan        QY
      yoursel
            fandyourdependene ?            es
*-
           Estim ate YourO ngoing M onthly Expenses
Estimate yourexpenses as ofyourbankruptcyfiling date unless youare using thisform as asupplem entin a Chapter13 case to repod
expensesasofa dateafterthe bankruptcy is filed.Ifthisi
                                                     s a supplementalScheduleJ.checkthe box atthetop ofthe form and fillinthe
applicable date.
Include expenses paid forwith non-cash governmentassistance ifyou know
thevalue ofsuch assistance and have included iton Schedule1:Ybtlrlncome
(OfficialForm 1061.
                  )
      The rentalorhomeownership expensesforyourresidence.Includefirstmodgage
      paymentsand any rentforthegroundorIot.                                                        $                     5,345.00
      I
      fnotincluded in line4:
      4a. Realestatetaxes                                                                    4a.$                         1,073.00
      4b. Property,homeowner's,orrenter'sinsuranœ                                            4b.$                            96.00
      4c. Home maintenance,repair,and upkeep expenses                                        4c. $                           25.00
      4d. Homeowner'sassociation orcondomi nium dues                                         4d. $                            0.00
      Addi
         tionalmodgage payments foryourresidence,suchashome equi
                                                               ty I
                                                                  oans                        5. $                            0.00



Offici
     alForm 106J                                          Schedule J:YourExpenses                                                        page 1
       Case 1:19-bk-12284-MT                Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                             Desc
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  Debtor1 Afsaneh Doost                                                              Casenumber(ifknown)    1:19-bk-12284
  6. Utili
         ties:
     6a. Electricity,heat,naturalgas                                                      6a. $                         408.00
     6b. Water,sewer,garbagecoll    edion                                                 6b.$                            0.00
     6c. Telephone,cel  lphone, lnternet,satell
                                              ite,and cable services                      6c. $                         128.00
     6d. Other.Specify: gaS                                                               6d, $                          68.00
            lnternet                                                                          $                         129.00
 7. Food and housekeeping supplies                                                         7. $                         600.00
 8. Childcare and children's education costs                                               8. $                           0.00
 9. Clothing,laundry,and dry cleaning                                                      9. $                          40.00
 10. Personalcare producl and services                                                    10. $                         120.00
 11. Medicaland dentalexpenses                                                            11. $                           0.00
 12. Transportation.Includegas,maintenance,busortrainfare.
     Do noti nclude carpayments.                                                          12. $                         120.00
 13. Entedainment,clubs,recreation,newspapers,magazines,and books                         13. $                           0.00
 14. Charitable contributions and religious donations                                     14. $                           0.00
 15. Insurance.
     Do noti ncl
               ude insurancedeductedfrom yourpay orincluded in I
                                                               ines4 or20.
     15a. Life insurance                                                                15a. $                             Q.00
     15b. Heal  thinsurance                                                             15b.$                              0.00
     15c. Vehicleinsurance                                                              15c. $                             0.00
     15d. Otherinsuranœ .Specify:                                                       15d. $                             0.00
 16. Taxes.Do notincl  udetaxesdeduded from yourpayorincluded in Iines4 or20.
     Specify:                                                                             16. $                            0.00
 17. lnstallmentorIease payments:
     17a. CarpaymentsforVehicl  e1                                                      17a.   $                          0.00
     17b. CarpaymentsforVehicl  e2                                                      17b,   $                          0.00
     17c. Other.Speci  fy:                                                              17c.   $                          0.00
     17d. Other.Speci  fy:                                                              17d.   $                          0.00
 18. Yourpayments ofalimony,maintenance,and supportthatyoudid notreportas
      deductedfrom yourpayonIine5,Schedule1,Yourlncome(OfficialForm 1061).               18. $                            0.00
 19. Otherpaymentsyou make to supportotherswho do notIive wi  th you.                  $                                  0.00
     Specify:                                                                      19,
 20. Otherrealproperty expenses notincluded in Iines 4or5ofthisform oron Schedule 1:Yourlncom e.
     20a. Mortgageson otherpropedy                                               20a. $                                   0.00
     20b. Realestatetaxes                                                        20b. $                                   0.00
     20c. Property,homeowner' s,orrenter'sinsurance                              20c. $                                   000
     20d. Maintenanœ ,repair,and upkeepexpenses                                  20d. $                                   0.00
     20e. Homeowner' sassociationorcondomini  um dues                            20e. $                                   0.00
 21. Other;Specify:                                                               21. +$                                  0.00
 22. Calculateyourmonthl
                       y expenses
     22a.AddIines4through21                                                                      $                 8,152.00
     22b.CopyIine22(monthl
                         yexpensesforDebtor2),ifany,from Offi
                                                            cialForm 106J-2                      $
     22c.Add Iine 22a and 22b.The resultisyourm onthlyexpenses.                                  $                 8 152.00
 23, Calculate yourmonthly netincome.
     23a. CopyI
              ine 12(yotl
                        rcombinedmonthlyincome)from Schedul
                                                          e1.                           23a. $                       8,480.00
     23b. Copyyourmonthl
                       yexpenses from line 22cabove.                                    23b.-$                       8 152.00
     23c. Subtractyourmonthlyexpensesfrom yourmonthl
                                                   y income.
           The resul
                   tisyourmont
                             hly netincome.                                             23c. $                         328.00
 24. Doyou expectan increase ordecrease in yourexpenses withinthe yearafteryou file thisform?
     Forexample,doyouexpecttofinishpayingforyourcarIoanwithintheyearordoyouexpectyourmortgagepaymenttoincreaseordecreasebecauseofa
     modifiœ tiontothetermsofyourmodgage?
     K No.
     L Yes.




OfficialForm 106J                                      ScheduleJ:YourExpenses                                                        gage2
           Case 1:19-bk-12284-MT                       Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                            Desc
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  Debtor1               Afsaneh Doost
                        FirstName                      MiddleName              LastName
  Debtor2
  (Spousei
         f,fi
            l
            ing)        Fir
                          stName                       Mi
                                                        idl
                                                          eName                LastName
  Uni
    ted States Bankruptcy Courtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                   A

  Casenumber 1:19-bk-12284
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 OfficialForm 106Dec
 Declaration A boutan IndividualDebtor's Schedules                                                                                           lwls
 lftwo married peoplearefilingtogether,both are equally responsibleforsupplying correctinformation.

 Youmustfil
          ethisform wheneveryoufilebankrujtcyschedulesoramendedschedules.Makingafalsestatement,concealingproperty,or
 obtainingmoneyorpropeo byfraud inconnectlonwithabankruptcycasecanresultinfinesupto$250,000,orimprisonmentforup to 20
years,orboth.18U.
                S.C.:9152,1341,1519,and3671.

               Sign Below

       Did you payoragree to pa#someonewho is NOT an attorney to helpyou filloutbankruptcyforms?

       IZI N0
       K Yes.Nameofperson Afsaneh Doost
                                  -.                                    - .
                                                                                                        AttachBankruptcyPetitionPreparer'
                                                                                                                                        sNot/ce,
                                                                                                        oecjaration andSignature(OfficialForm 119)

      Underpenal
               tyofperjury,ldeclarethatIhavereadthesummaryandschedulesfil
                                                                        edwi
                                                                           ththisdeclarationand
      th       y aretruea       correct.
                                                                              X
           Afs       Doost                                                        Signature ofDebtor2
           Si
            gnature ofDebtor1

           Date septem ber24,2019




Offi
   cialForm 106Dec                                    Declaration Aboutan IndividualDebtor's Schedules
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcase.com                                                                        BestCase Bankruptcy
               Case 1:19-bk-12284-MT                      Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                             Desc
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                       @   . *   @ @*         #     . *

   Debtor1                  Afsaneh Doost
                            FirstName                     MiddleName                ' LastName
   Debtor2
   (spouseif,filing)        FirstName                     MiddleName       '''      -'LastName
   United StatesBankruptcyCourtforthe: CENTRALDISTRI
                                                   CT OF CALSFORNI
                                                                 A
   Case number 1:19-bk-12284
   (ifknown)
                                                                                                                              Q Checkifthisi
                                                                                                                                           san
                                                                                                                                 amendedfil
                                                                                                                                          ing

 OfficialForm 1O7
 Statem ent of FinancialAffairs forIndividuals Filing forBankruptcy                                                                                4/19
 Beascompleteand accurate as possible.Iftwo married peoplearefiling together,
 i
 nformation. lfmore space is needed,attach aseparate sheetto this form On thetop
                                                                              botof
                                                                                 haar
                                                                                    eequallyresponsibleforsupplyingcorrect
                                                                                    ny additlonalpages
                                                                                       .
                                                                                                                        ,wri
                                                                                                                           teyourname and case
 number(ifknown).Answereveryquestion.
   *-
               Give DetailsAboutYourMaritalStatus and W here You Lived Before
        W hatis yourcurrentmaritalstatus?

        K Marri
              ed
        Q Notmarri
                 ed
 2. During the Iast3years,haveyou Iived anywhereotherthanwhere you Iive now?

        K No
        Z Yes.Li
               staI
                  IoftheplacesyouIi
                                  vedi
                                     ntheIast3years. Do notincludewhereyou Iive now .
         Debtor1 PriorAddress:                               Dates Debtor1             Debtor2PriorAddress;                        Dates Debtor2
                                                             Iived there                                                           Iivedthere
 3. Withinthelast8years,didyoueverIi     vewithaspouseorIegalequivalentinacommuni       typropeo stateorterri tory?fcommunitypropedy
 stat
    esand territ
               oriesincludeAri
                             zona,Cal
                                    ifornia, Idaho,Louisiana,Nevada, New Mexico,Puedo Rico,Texas,W ashingtonandW isconsin.
                                                                                                                          )
      D No
      K Yes. MakesureyoufilloutscheduleH:Yourcodebtors(omcialForm 1o6H).
  -.
               Explain theSources ofYourIncome

        Dj
        Fild you
           lin thehaval
                  tote am
                       any income from em ploymentorfrom operating a business during this yearorthe two previous cal
                                                                                                                   endaryears?
                       ountofincomeyoureœivedfrom aIIjobsandaIIbusinesses,includingpart-timeactiviti
                                                                                                   es
        I
        fyouarefilingajoi
                        ntcaseandyouhaveincomethatyoureœ i  vetogether, Iistitonly once underDebtor1. .
        D No
        * Yes. Fillin the details.
                                                  Debtor1                                                Debtor2
                                                  Sources ofincome               Gross income            Sources ofincome          Gross income
                                                  CheckaIIthatappl
                                                                 y.              (beforededudionsand     CheckalIthatapply.        (beforededudions
                                                                                 exclusions)                                       andexclusinns)
 From
 the  Ja
    datenuar
        youy 1
           fil
             edoffor
                  currenkr
                    ba ntyup
                          ear
                            t until D wages,commi
                                                ssions,                                    $18,400.00    Q Wages, commissions,
                                        cy:       bonuses,ti
                                                           ps                                            bonuses,ti
                                                                                                                  ps
                                                  K Operatingabusi
                                                                 ness                                    Q Operatingabusi
                                                                                                                        ness




OfficialForm 107                                    StatementofFinancialAffairsforIndividualsFilingforBankruptcy
                                                                                                                                                 O oe 1
SoftwareCopyright(c)1996-2019BestCase,LLC-www.bestcase.com                                                                            BestCaseBankruptcy
              Case 1:19-bk-12284-MT                    Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                             Desc
                                                       Main Document    Page 25 of 42
   Debtor1 Afsaneh Doost                                                                         Case number(i
                                                                                                             fknown) 1:19-bk-12284


                                            Debtor1                                                     Debtor2
                                            Sources ofincom e              Gross income                 Sources ofincom e        Gross income
                                            CheckaIIthatappl
                                                           y.              (beforededudi
                                                                                       onsand           CheckalIthatapply.       (beforededudions
                                                                           exclusi
                                                                                 ons)                                            andexclusions)
  For Iasr
  (Janua tyc1
            al
             teondarye
                 Dec  arer
                    emb : 31                * wages                                   $17,500.00        D Wages,commissions,
                            ,2018)          bonuses, t,ipcsommissions,                                  bonuses,ti
                                                                                                                 ps
                                            Q Operatingabusiness                                        Q Operati
                                                                                                                ngabusiness
   Forthecalendaryearbeforethat:            . wages, commi
                                                         ssions,                      $16,000.00       Q nWages,commi
                                                                                                                    ssi
                                                                                                                      ons,
  (January1toDecember31,2017)               bonuses,tips                                               bo uses,tips
                                            E1operatingabusiness                                        D Operatingabusi
                                                                                                                       ness

 5. Didyou receive any otherincomeduring this yearorthetwo previouscalendaryeao?
    lnclude i
            ncome regardless ofwhetherthati
                                          ncome istaxable. Exampl esofotherincomeare alimony;child support, SocialSecurity,unemployment
    and otherpubli
                 cbenefi tpayments',pensi
                                        ons'
                                           ,rentalincome'
                                                        ,interest'
                                                                 ,dividends'
                                                                           ,moneycoll   eded from Iawsui
                                                                                                       ts'
                                                                                                         ,royal
                                                                                                              ti ,and gambling and Iottery,
                                                                                                               es'
    winnings.Ifyouareslingajoi ntcaseandyouhavei   ncomethatyourecei  vedtogether, Iistitonlyonce underDebtor1.
          Li
           steachsource and the gross incomefrom eachsource separatel
                                                                    y. Do notinclude i
                                                                                     ncome thatyouIi
                                                                                                   sted inline 4.
          Q No
          * Yes. Fillinthe details.
                                           Debtor1                                                     Debtor2
                                           Sources ofincome               Gross income from            Sourcesofincome           Gross income
                                           Describe bel
                                                      ow.                 eachsource                   Descri
                                                                                                            be betow.            (beforededudions
                                                                          (beforededudionsand                                    andexclusions)
                                                                          exclusi
                                                                                ons)
  Fr
  t om
   hedaJa
       tenuary1ofcurrentyearuntil renl                                                $22 500.00
         you filed forbankruptcy:

  *
      .        ListCertain Payments You Made BeforeYou Filed forBankruptcy
 6. Are ei
         therDebtor1's orDebtor2's debts primarily consumerdebh?
          Q No. NeitherDebtor1norDebtor2hasprimaril       yconsumerdebts. Consumerdebtsare desned in11 U.
                individualprimarilyfora personalfamily,orhous
                                                   ,        eholdpurpose''        .
                                                                                                         S.C.j101(8)as'incurredbyan
                   Duri
                      ng the90 daysbeforeyoufIed forbankruptcy, di   dyoupayanycredi    toratotalof$6,825*ormore?
                    Z No. Goto Iine 7.
                    Z Yes Listbelow eachcredi   tortowhom youpai     datotalof$6,825*ormore in oneormore paymentsandthe totalamountyou
                             paidthatcreditor.Do notincludepaymentsfordomesticsupportobli      gati
                                                                                                  ons, such aschil
                                                                                                                 d suppod and alimony.Also,do
                             notinclude paym ents to an attorney forthis bankruptcy case   .
                    *Subjed toadjustmenton4/01/22andevery3yearsafterthatforcasesfiledonorafterthedateofadjustment.
          K Yes. Debtor1orDebtor2 orboth have primarily consumerdebl .
                 During the90days beforeyoufi
                                            led forbankruptcy, di
                                                                dyoupayanycreditoratotalof$600ormore?
                    K No. GotoIine7.
                    Q Yes Li
                           stbelow eachcreditortowhom youpai
                                                           datotalof$6t
                                                                      % ormore andthetotalamountyou paidthatcreditor. Do not
                              include paymentsfordomesti c supportobligations, suchas chi
                                                                                        ldsupportand alimony.Also,do notinclude paym entsto an
                              attorneyforthisbankruptcy case,

          Creditor's Nameand Address                   Dates ofpayment           Totalamount          Am ountyou      Wasthis paymentfor...
                                                                                        paid             stillowe




OfficialForm 107                                 StatementofFinancialAffairsforIndividualsFiling forBankruptcy                                 Pax 2
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               Case 1:19-bk-12284-MT                  Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                                Desc
                                                      Main Document    Page 26 of 42
   Debtor1 Afsaneh Doost                                                                       Case number(i
                                                                                                           fk
                                                                                                             nownt 1:19-bk-12284

           W ithin 1yearbeforeyoufil  ed forbankruptcy, did you makea paymentona debtyouowed anyonewho wasan insi          der?
           Insidersinclude yourrelati
                                    ves,'anygeneralpadners;rel  ati
                                                                  vesofanygeneralpadners;padnershi psofwhichyou area generalpartner;corporati  ons
           ofwhichyouare an officer, diredor,person incontrol, orownerof20% ormore oftheirvoting securi
                                                                                                      ti
                                                                                                       es,'and any managing agent,including one for
           a businessyouoperate asasoleproprietor .   11U.S.C.9 101.Incl
                                                                       udepaymentsfordomesti
                                                                                           csuppodobligations,suchaschildsupportand
           alim ony.

           K No
           Q Yes.Listallpaymentstoaninsi
                                       der.
           Insider's Name and Address                   Dates ofpayment          Totalamount         Am ountyou       Reason forthis payment
                                                                                        paid            stillowe
          W ithin 1yearbeforeyoufiled forbankruptcy,did you make any payments ortransferany propertyon accountofa debtthatbenefi
                                                                                                                               ted an
          insideo
          lnclude payments on debtsguaranteed orcosi
                                                   gned byaninsider.

          K No
          IZ Yes.ListaIIpaymentstoaninsi
                                       der
           lnsider'
                  s Name and Address                    Dates ofpayment          Totalamount         Am ountyou       Reason forthis e ym ent
                                                                                        paid            sti
                                                                                                          llowe       Include credi
                                                                                                                                  tor'
                                                                                                                                     s name
  -
      .    '
                Identify LegalActions,Repossessions, and Foreclosures
          W
          Liithin 1yearbeforeyoufiled forbankruptcy,wereyouapa* inanyIawsuit,courtaction!oradmini         strativeproceeding?
           staIIsuchmaders,includingpersonalinjurycases,smallclaimsactions,di
                                                                            vorces,colledionsults,paternityadions,suppodorcustody
          modifications,andcontractdi
                                    sputes.
          D No
          K Yes. Fillinthe details.
           case title                                  Nature ofthe case        Courtoragency                         Status ofthe case
           case number
           CITIBANK v.Doost,Afsaneh                                             SuperiorCourtofLos                    D Pending
           10E08943                                                             Angeles                               Q onappeal
                                                                                6230 SylmarAve.                       (n concluded
                                                                                Van Nuys,CA 91401

 10. W
     Chithin 1 yearbefore you filed forbankruptcy,wasanyofyourpropeo repossessed,foreclosed,garnished,attached,seized,orIevied?
        eckallthatapplyand filli
                               n the detail
                                          s bel
                                              ow .

          K No. Goto Iine 11.
          Q Yes.Fillintheinformationbelow.
          CreditorNameandAddress                       DescribethePropeo                                       Date                       Value ofthe
                                                       Explainw hathappened                                                                  propeo
11. W ithin 90 days before you filedforbankruptcy,did any creditor,including a bankorfinancialinstitution,setoffanyam ounts from your
    accounl orrefuse to make a paymentbecause you owed a debt?
          * No
          D Yes.Fillinthedetail
                              s.
          CreditorName and Address                     Describetheaction the credi
                                                                                 tortook                       Dateaction was                Amount
                                                                                                               taken
12.cour
   Withti-n1yearbeforeyoufiledforbankruptcy,wasanyofyourpropertyinthepossessionofanassigneeforthebenefi
                                                                                                      tofcreditors,a
               appointed recelver,a custodian,oranotherofficial?
          * No
          D Yes




OfficialForm 107                                StatementofFinancialAffairsforIndividualsFilingforBankruptcy
                                                                                                                                                Page 3
SoftwareCopyright(c)1996-2019BestCase,LLC-www.bestcase.com                                                                           BestCaseBankruptcy
               Case 1:19-bk-12284-MT                    Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                          Desc
                                                        Main Document    Page 27 of 42
   Debtor1 Afsaneh Doost                                                                        Case numberfifknownj 1:19-bk-12284


   -.
                ListCeA in GiM and Contributions
  13. W i
        thin2 years before youfil
                                ed forbankruptcy,didyougivean#giftswi
                                                                    thatotalvalueofm orethan$600perperson?
           K No
           Q Yes.Filinthedetailsforeachgi
                                        ft.
           Gi
            M withatotalvalueofmorethan$6Q0                   Describethegi
                                                                          M                                     Date yougave                 Value
           perperson                                                                                           the gi%
           Person to W bom You Gavethe Giftand
           Address:
 14. W i
       thin 2 years beforeyoufiled forbankruptcy, didyougiveanygiftsorcontributionswithatotalvalueofmorethan$600toanycharity?
           * No
           D Yes.Filinthedetai
                             lsforeachgi
                                       ftorcontribution,
           Gi
            Mreor
           mo    thcontributionsto chari   tiesthat total     Describe whatyou contributed                     Dates you                     Value
                   an$600                                                                                      contributed
           Charity's Nam e
           Address (Numbersstreetcitw stateandZIPcode)
  *
      -    .    ListCedain Losses

 15. Wi
      thin1yearbeforeyoufiledforbankruptcyorsinceyoufiledforbankruptcy,didyouIoseanythingbecauseoftheft, fire,otherdisaster,
          orgambllng?
          K No
          Q Yes.Fillinthedetails.
           Describethe propertyyou lostand            Describe any insuranceGoverageforthe Ioss                Date ofyour      Valueofproperty
           how the I
                   oss occurred                       lncludethe amountthatinsuranœ has paid. Listpending      Ioss                        Iost
                                                      i
                                                      nsuranœ cl ai
                                                                  m senIine 33 ofScheduleA/8'. Property.
  *.
               ListCertain Paymenl orTransfers
 16. W ithin 1yearbeforeyou filed forbankruptcy,didyouoranyoneelseactingonyourbehalfpayortransferanypropeo toanyoneyou
     consulted aboutseeking bankruptcyorpreparing a bankruptcy petition?
     I
     nclude anyattorneys,bankruptcy peti
                                       tion preparers,orcreditcounseling agenciesforservicesrequired inyourbankruptcy.

          K No
          Q Yes.Fillinthedetail
                              s.
          Person W ho W as Paid                              Descri
                                                                  ptionandvalueofan#propeo                     Datepayment             Am ountof
          Address                                            tmnsferred                                        ortransferwas
          Emailorwebsi teadd- s                                                                                                         Payment
                                                                                                               made
          PersonW ho Madethe Payment,i
                                     fNotYou
          Within1yearbeforeyoufiledforbankruqtcy,didyouoranyoneelseactingonyourbehalfpayortransferanypropertytoanyonewho
          promised to helpyou dealwithyourcredltoo orto make paymenK to yourcreditors?
          Do notinclude anypaymentortransferthatyoulisted onIine 16.

          K No
          Q Yes.Filinthedetai
                            ls.
          Pea on who was Paid                                Descriptionandvalueofanypropeo                    Datepayment             Amountof
          Aduress                                            transferred                                       ortransferwas            payment
                                                                                                               made
18. t
    Wi thin 2years beforeyou filedforbankruptcy!did you sell,trade,orotherwise transferany propedyto anyone,otherthan property
     ransferred inthe ordinal course ofyourbusl   ness orfinancialaffairs?
    I
    inc ludebothoutri
                    ghttransfersandtransfersmadeassecurity(suchasthegrantingofasecurityi nterestormodgageonyourproperty). Do not
     ncludegiftsandtransfersthatyou have already Ii
                                                  stedonthisstatement         .

          K No
          Q Yes.Fillinthedetai
                             ls.
          Peo on Who Recei
          Add             ved Transfer                       Description and value of             Describeanyproperty or       Datetransferwas
             ress                                            propertytMnsferred                   paymenh received ordebts     made
          P                                                                                       paid inexchange
           eoon's Ylationship to you

OfficialForm 107                                StatementofFinancialAffairsforlndividualsFilingforBankruptcy
                                                                                                                                             page 4
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              Case 1:19-bk-12284-MT                   Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                          Desc
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    Debtor1 Afsaneh Doost                                                                      Case number(/fknownj 1:19-bk-12284


  19. W ithin 10years beforeyou filed forbankruptcy,did you transferany propertyto a self-settled trustorsim ilardeviceofwhich youare a
          beneficiary?(TheseareoAencalledasset-protectiondevices.)
          * No
          Q Yes.Fillinthedetails.
          Name oftrust                                      Description and valueofthepropertytransferred                     DateTransferwas
                                                                                                                              made
    e-
          1    ListofCertain FinancialAccounl,lnstrumenl ,Safe Deposi
                                                                    tBoxes,and Storage Units
 20. W ithin 1yearbeforeyou filed forbankruptcy,wereany financialaccounî orinstrumenl held in yourname,orforyourbenefit,closed,
     sold,moved,ortransferred?
     Includechecking,savings,moneymarket,orotherfinancialaccounts;certificates ofdeposit;shares in banks,creditunions,brokerage
     h
       ouses,pension funds,cooperatives,associations,and otherfinancialinsti
                                                                           tutions.
         * No
         Q Yes.Fillinthedetails.
          Name ofFinanciallnsti   tution and           Last4 digitsof          Type ofaccountor           Date accountwas          Lastbalance
          Address tNumber,Street,city,StateandZI
                                               P       accountnum - r          instrument                 closed,sold,         before cl
                                                                                                                                       osing or
          Code)                                                                                           m oved,or                    transfer
                                                                                                          transferYd
 21. Do you now have,ordid you havewithin 1yearbeforeyou filed forbankruptcy,anysafe depositbox orotherdepositoryforsecurities
     cash,orothervaluables?                                                                                                   ,

         * No
         Q Yes.Fillinthedetails.
         Name ofFi
         Addr    nanciallnsti  tution                     Who else had accessto it?           Describe the contenl             Do you still
            ess(Number,street,city,stateandzI
                                            pcode)        Address (Number,streetcity,                                          have it?
                                                           stateandzm c- e)
 22. Haveyou stored property in a storage uni
                                            torplaceotherthanyourhomewithin 1 yearbefore you filedforbankruptcy?

         * No
         D Yes.Fillinthedetails.
         Name ofmoraqe Facility                           W ho else has orhad access          Descri
                                                                                                   be the contenë              Do you still
         Address (Num-r,street,ci
                                ty,stateandZ1Pc- e)       to it?                                                               have it?
                                                          Addœss(Number,streetcity,
                                                          StateandZIPCY el
  œ.
          .   Identify Property You Hold orControlforSomeone El
                                                              se
 23. fDo you hold orcontrolany propertythatsomeoneelse owns? Include any property#ou borrowed from ,arestoringfor,orhold intrust
         orsom eone.

         K No
         D Yes. Fillinthe details.
         Owner'sName                                      Whereisthepropeo ?                  Describe the property                      Value
         Address(Num-r.streetcity,stat
                                     eandzI
                                          Pcode)          (Number,Street
                                                                       yCity,StateandZIP
                                                          r'
                                                           -e- l
 *.
          I Give DetailsAboutEnvironmentalInformation
Forthe purpose ofPart10,the following defini
                                           tions apply:

K Environmentallaw meansanyfederal,state,orIocalstatute orregulation concerning pollution contamination,releasesofhazardous or
                                                                                         ,
  toxicsubstances,wastes,ormaterialintothe air,Iand,soil,sudace water!groundwater,orothermedium ,includingstatutes or
  regulations controlling the cleanup ofthese substances,wastes,ormaterlal.
K SitemeansanyIocation,facility,orproperty as defined underanyenvironmentalIaw whetheryou now own,operate
                                                                              ,                               ,oruti
                                                                                                                   lize itorused
  to own,operate,orutilize it,including disposalsites.
K HazardousmaterialmeansanythinganenvironmentalIaw definesasahazardouswaste hazardous substance,toxic substance,
                                                                                  ,
  hazardousmaterial,pollutant,contaminant,orsimilarterm.
ReportaIlnotices,releases,and proceedingsthatyou know about,reqardless ofwhenthey occurred.



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               Case 1:19-bk-12284-MT                     Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                             Desc
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   Debtor1 Afsaneh Doost                                                                            Case numberçi
                                                                                                                fknownq 1:19-b*-12284


 24. Has an# governmentalunitnotified you thatyou may be liableorpotentially Iiableunderorin violation ofan environm entallaw ?

           * No
           D Yes.Fillinthedetails.
           Name ofsite                                        Governmenl lunit                        Environmenl llaw , ifyou       Date ofnotice
           Address(Number,street,ci
                                  ty,stateandzlecode)         Address (Number,streetcity,sfateand     know it
                                                              zIpcode)
 25. Haveyou notified anygovernmentalunitofany release ofhazardous material?

          K No
          Q Yes.Fillinthedetails.
           Name
           Add ofsite                                         Governmentalunit                        Environmentallaw ,ifyou       Date ofnotice
              ress (Number,street,citw stateandzl
                                                pcode)        Address tsumber,streetci
                                                                                     ty,stateand      know it
                                                              zlpcode)
 26. Haveyoubeenapartyinanyjudicialoradmini
                                          strativeproceedingunderanyenvironmentalIaw?Includesettlementsandorders.
          K No
          Q Yes.Fillinthedetail
                              s.
           Gase Ti
                 tle                                          Coud oragency                     Nature ofthe case                   Sltus ofthe
           Case Number                                        Name                                                                  case
                                                              AddresstNumber,StreptCi
                                                                                    ly,
                                                              stateandzlp code)
  *
      .         Give Detail
                          s AboutYourBusinessorConnectionsto Any Business
 27. Within 4 years beforeyou filed forbankruptcy,did you owna business orhaveany ofthefollowing connections to any business?
            D A soleproprietororself-employedinatradesprofession,orotheractivity,eitherfull-timeorpart-time
            Q A memberofaIimi   tedliabilitycompany(LLC)orIimitedliabilitypartnership(LLP)
            D A partnerinapartnership
            D Anofficer,director,ormanagingexecuti  veofacorporation
            Q AnownerofatIeast5% ofthevotingorequitysecuritiesofacorporation
          K No. None ofthe above applies.Go to Part12.
          D Yes.CheckaIIthatapplyaboveandfillinthedetailsbelow foreachbusiness.
          Business Name                                  Describethe natureofthebusiness               Em ployerIdenti
                                                                                                                     fication number
          Address                                                                                      Do notinclude SooialSecurity numberorITIN.
          (Number,street,ci
                          ty,stateandapcode)             Name ofaccountantorbookkeeper
                                                                                                       Dates businessexisted
28. W ithin 2years beforeyou filedforbankruptcy,did you givea financialstatementto anyone aboutyourbuslness? Include aIlfinancial
          institutions,creditoo ,orotherpadies.

          K No
          Q Yes.Fillinthedetailsbelow.
           Name                                          Datelssued
          Address
          (NumberjStreet,City,StateandZIPCode)




OfficialForm 107                                 StatementofFinancialAffairsforIndividualsFiling forBankruptcy                                  gage 6
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            Case 1:19-bk-12284-MT                       Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                            Desc
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  Debtor1 Afsaneh Doost                                                                         Case numberqi
                                                                                                            fknownb 1:19-bk-12284


  *.
             Sign Below
 Ihaveread theanswers onthis Statem entofFinancialAffadrs and anyattachments,and Ideclareunderx nal
                                                                                                  tyofperjul thattheanswers
 aretrueandcorrect.Iunderstandthatmakingafalsestatement,concealing propeo ,orobtainingmoneyorpropertybyfraudinconnection
 withabankruptcycasecanresultinfinesupto $250,000,orimprisonmentforupto20years,orboth.
 18 . . .           ,      1619,and 3571.
                           eA
 Afsaneh                                                         SignatureofDebtor2
 signature ofDebtor1
 Date septem ber24,2019                                          Date
 Didyouattachaddi
                tionalpagesto YourStatementofFinancialAffairsforlndividualsFilingforBankruptcy(OfficialForm 107)1/
 K No
 Q Yes
 Did you payoragree to paysomeone who is notan attorney to help youfilloutbankruptcy forms?
 L No
 K Yes. Name ofPerson           Afsaneh Doost           Attachthe Bankruptcy Petition Preparefs Notice, Declaration,andSi
                                                                                                                        gnature(OmcialForm 119)




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                      @   + @   @ :*       @       œ

  Debtor1                  Afsaneh Doost
                           FirstName                   Middle Name             LastName
  Debtor2
  (spouseif,filing)        FirstName                   MiddleName     --       LastName
  Uni
    ted States BankruptcyCourtforthe: CENTRAL DISTRICT OF CALIFORNI
                                                                  A

  Case number 1:19-bk-12284
  (ifknown)
                                                                                                                  Q Checki
                                                                                                                         fthisi
                                                                                                                              san
                                                                                                                      amended filing


 O #icialForm 108
 Statem entof Intention for Individuals Filing U nder C hapter 7                                                                       l2/ls
 Ifyou are an individualfiling underchapter7,#ou mustfilloutthis form if:
 K creditorshavecl
                 aimssecuredbyyourprope* ,or
 K youhaveleasedpersonalpropeo andtheleasehasnotexpired.
You mustfilethis form with the coud within 30 days afteryou fileyourbankruptcypetition orby the date setforthe meeting ofcreditors,
       whi  cheveris earlier,unless the coud extendsthetime forcause. You mustalso send copiesto the creditors and Iessoo you Iist
       on the form
Iftwomarried peoplearefilingtogetherinajointcase,bothareequallyresponsibleforsupplyingcorrectinformation. 80thdebtors must
              signand datetheform.
Be as com plete and accurate as possible.I
                                         fmore space is needed,attach a separate sheetto thi
                                                                                           s form.Onthe top ofanyaddi
                                                                                                                    tionalpages,
              writeyournameandcasenumber(i
                                         fknown).
  *-
              ListYourCreditorsW ho Have Secured Claims
1.For
  i anycreditorsthatyoulisted inPart1ofScheduleD:Credi
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    Description of 4567W hite OakPLC Encino,CA
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    property       91316 Los Angeles County                          Q Retainthepropertyand(explai
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    securing debt:
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          ListYourUnex ired PersonalPro e Leases
For
i anyunexpiredpersonalpropertyleasethatyou IistedinScheduleG:ExecutoryContracl andUnexpiredLeases(OfficialForm 106G),fill
n the informationbelow.Do notIi
                              strealestate Ieases. Unexpired Ieases are Ieases thatarestillineffect;the Iease period has notyetended
You may assume an unexpired personalproperty lease ifthe trustee does notassumeit. 11U. S.C.j365(p)(2).                             .

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Lessor'sname:
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Descripti
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Propel :                                                                                                     I
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Lessor's name:

Offi
   cialForm 108                                   StatementofIntention forIndividuals Filing UnderChapter7                              ;39e 1
SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcase.com                                                                  BestCaseBankruptcy
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  Debtor1 Afsaneh Doost                                                                  Case number(i
                                                                                                     fknownt 1:19- bk-12284

  Descri
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  Property:
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Underpenaltyofperjury,ldeclarethatlhaveindicatedmyintentionaboutanypropertyofmyestatethatsecuresadebtandanypersonal
prope thatissubjecttoanunexpiredIease.

  -- .    fs            st
         Signature ofDebtor1

         Date     Septem ber24,2019                                       Date




Offi
   cialForm 108                                   StatementofIntentionforIndi
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Notice Required by 11 U.S.C.j 342(b)for
Individuals Filing forBankruptcy (Form 2010)

                                                                               Chapter7:         Liquidation
 This notice is foryou if:
                                                                                      $245 filingfee
        You are an individualfiling forbankruptcy,
        and                                                                             $75 adm inistrative fee
       Yourdebts are prim arily consumerdebts.                                 +        $15 trustee surcharge
       Consum erdebtsare defined in 11 U.S.C.
        j101(8)as'
                 sincurredbyanindividual                                              $335 totalfee
        primarily fora personal,fam ily,or
        household purpose.''                                                   Chapter7 is forindividualswho have financial
                                                                               difficulty preventing them from paying theirdebts
                                                                               and who are willing to allow theirnonexempt
 Thetypes ofbankruptcy thatare available to                                    propedy to be used to pay theircredi tors.The
 individuals                                                                   primary purpose offiling underchapter7 isto have
                                                                               yourdebts discharged.The bankruptcy discharge
 Individualswho meetthe quali
                            fications may file under                           relievesyou afterbankruptcy from having to pay
 one offourdiserentchapters ofBankruptcyCode:                                  many ofyourpre-bankruptcy debts.Exceptions exist
                                                                               forpadiculardebts,and Iiens on property may still
       Chapter7 -Liquidation                                                   be enforced afterdischarge.Forexample,a credi    tor
                                                                               may have the rightto foreclose a hom e modgage or
       Chapter11-Reorganization                                                repossessan automobile.

       Chapter12 -Voluntary repaymentplan                                      However,ifthe courtfinds thatyou have com mitted
                 forfam ilyfarmers or                                          cedain kinds ofimproperconductdescribed in the
                 fishermen                                                     Bankruptcy Code,the courtmay deny your
                                                                               discharge.
       Chapter13 -Voluntary repaymentplan
                 forindividualswith regul
                                        ar                                     You should know thateven ifyoufile chapter7 and
                  income                                                       you recei
                                                                                       ve a discharge,some debts are not
                                                                               discharged underthe Iaw.Therefore,you may still
                                                                               be responsible to pay:
 You should have an attorney review your
 decision to file forbankruptcy and the choice of                                  m osttaxes;
 chapter.
                                                                                   m oststudentIoans'
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                                                                                   domestic suppod and property settlement
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NoticeRequired by 11U.S.C.j342(b)forIndi
                                       vidualsFilingforBankruptcy(Form 2010)                                                    Px e 1
SoftwareCopyright(c)1996-2019BestCase,LLC-wwwxbestcase.com                                                           BestCaseBankruptcy
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         mostfines,penalties,forfeitures, and criminal                     yourincome i  s more than the median income foryour
         resti
             tuti
                on obligations'
                              ,and                                         state ofresidence and family size, depending on the
                                                                           results ofthe Means Test,the U.S.trustee,bankruptcy
        cedain debtsthatare notIisted in yourbankruptcy                    adm inistrator,orcreditors can file a motionto dismiss
        papers.                                                            yourcase underj707(b)ofthe BankruptcyCode.lfa
                                                                           motion is filed,the courtwilldecide ifyourcase should
 You may also be required to pay debtsarising from:                        be dism issed.To avoid dism issal, you maychoose to
                                                                           proceed underanotherchapterofthe Bankruptcy
        fraud ortheft'
                     ,                                                     Code.
        fraud ordefalcation while acting in breach of                      lfyou are an individualfiling forchapter7 bankruptcy,
        fiduciary capacity'
                          ,                                                the trustee may sellyourpropefty to pay yourdebts,
                                                                           subjecttoyourrighttoexemptthe propedyora porti
                                                                                                                        on
        intentionalinjuriesthatyou inflicted'
                                            ,and                          ofthe proceedsfrom the sale ofthe property. The
                                                                          propedy,and the proceeds from property thatyour
        deathorpersonalinjurycaused byoperatinga                          bankruptcy trustee sellsorIiquidates thatyou are
        motorvehicle,vessel,oraircraftwhile intoxicated                   enti
                                                                             tled to,iscall
                                                                                          ed exem ptproperty.Exemptions may
        from alcoholordrugs.                                              enable you to keep yourhome,a car,clothing, and
                                                                          household items orto receive some ofthe proceeds if
 lfyourdebts are primaril
                        y consumerdebts, the court                        the propedy issold.
 can dismissyourchapter7 case ifitfinds thatyou have
 enough income to repay creditorsa certain amount.                        Exemptions are notautomati c.To exemptproperty,
 You m ustfile Chapter7 StatementofYourCurrent                            you m ustIistiton Schedule C.
                                                                                                      .The Property You Claim
 Monthk lncome (OfficialForm 122A-1)ifyou are an                          asExempt(OfficialForm 106C).Ifyoudo notlistthe
 individualfiling forbankruptcy underchapter7.Thi
                                                s                         property,the trustee may sellitand pay aIIofthe
 form willdeterm ine yourcurrentmonthly income and                        proceedsto yourcreditors.
 compare whetheryourincome i   s more than the median
 income thatapplies in yourstate.
 Ifyourincome is notabove the medi  an foryourstate,
 you willnothave to complete the otherchapter7form ,                      Chapter11:Reorganization
 the Chapter7Means TestCalculation(OfficialForm
 122A-2).
                                                                                      $1,167 filing fee
 Ifyourincome i s above the median foryourstate, you
 mustfile a second form - the Chapter7 Means Test                            +          $550 administrative fee
 Calculation (OfficialForm 122A-2).Thecalculationson
 the form- sometim es called the Means Tesl- deduct                                   $1,717 totalfee
 from yourincome Iiving expenses and payments on                          Chapter11 isoften used forreorganizing a business,
 certain debts to determ ine any amountavailable to pay
 unsecured creditors.If                                                   butisalso available to indi
                                                                                                    viduals. The provisions of
                                                                          chapter11 are too complicated to summarize briefl  y.




NoticeRequi
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                                              ngforBankruptcy(Form2010)                                                        O 9e 2
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              Because bankruptcy can have serious Iong-term financialand legalconsequences including Ioss of
                                                                                              ,
              yourproperty,you should hire an attorney and carefully consideraIIofyouroptions before you file
              Only an attorney can give you legaladvice aboutwhatcan happen as a resultoffiling forba        .
                                                                                                       nkruptcy
              and whatyouroptions are.Ifyou do file forbankruptcy, an attorney can help you filloutthe forms
              properly and protectyou,yourfam ily, yourhom e,and yourpossessions.
              Although the Iaw allows you to representyouO elfin bankruptcy court, you should understand that
              m any people find itdifficultto representthemselves successfully. The rules are technical,and a m istake
              orinactionmayharm you.Ifyoufilewithoutanattorney,youarestillresponsibleforknowingand
             follow ing allofthe legalrequlrem ents.

             You should notfile forbankruptcy ifyou are noteligible to file orifyou do notintend to file the
             necessal docum ents.

             Bankruptcyfraud isaseriouscrime;youcouldbefinedandimprisonedifyoucommitfraudinyour
             bankruptcy case.Making a false statem ent,
             fraudi                                     concealinqproperty,orobtainlngmoneyorpropeo by
             20        nconnectionwitha bankruptcycasecan resultln fines up to $250,000,orim prisonm entforup to
                  years,orboth.18U.S.C.jj 152,1341,1519,and3571.


                                                                               Underchapter13,you mustfile with the courta plan
  Chapter12:Repaym entplan forfam ily                                          to repay yourcreditors aIIorpartofthe money that
            farm ers orfisherm en                                              you owe them ,usually using yourfuture earnings If .

                                                                               the coud approves yourplan,the courtwillallow you
                                                                               torepayyourdebts,asadjusted bythe plan,within3
                  $200 filing fee                                              years or5 years,depending on yourincome and other
  +                $75 administrati
                                  ve fee                                       factors.
                  $275 totalfee
                                                                               Afteryou make aIlthe payments underyourplan,
  Sim ilarto chapter13,chapter12 permits fam ily farmers                       many ofyourdebts are discharged The debts thatare
                                                                                                                .
  and fishermen to repay theirdebts overa period oftime                        notdi scharged and thatyou may stillbe responsible to
  using future earnings and to discharge some debts that                       pay include:
  are notpaid.
                                                                                     domestic supportobligations,
                                                                                     moststudentIoans,
 Chapter13:Reqaymentplanfor
                   indlvlduals with regular                                          cedain taxes,
                   incom e
                                                                                     debts forfraud ortheft,
                  $235 filing fee                                                    debtsforfraud ordefalcation while acting in a
 +                 $75 administrative fee                                            fiduciary capacity,
                  $310 totalfee
                                                                                     mostcriminalfinesand restitution obli
                                                                                                                         gations,
 Chapter13 is forindividualswho have regularincom e
 andwould like to pay allorpartoftheirdebts in                                       cedain debts thatare notIisted inyour
 installments overa period oftime and to discharge                                   bankruptcy papers,
 some debts thatare notpai  d.You are eligible for
 chapter13 only ifyourdebtsare notmore than cedain                                   cedain debtsforacts thatcaused death or
 dollaramountssetfodh in 11 U.S.  C.j 109.                                           personalinjury,and
                                                                                     certain long-term secured debts.



NoticeRequiredby11U.S.C.b342(b)forIndividualsFiling forBankruptcy(Form 2010)                                                       Page 3
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                                                                                                                                                                                                                ,      limited exceptions,you m ustreceive itwi thin the 180
                                                                                                                                                                                                                       days before you file yourbankruptcy petition. This
    Bankruptcy crim es have serious consequences                                                                                                                                                                       briefing i
                                                                                                                                                                                                                                s usuall
                                                                                                                                                                                                                                       y conducted bytelephone oron the
                                                                                                                                                                                                                       Internet.
                       Ifyou knowingly and fraudulently concealassets
                       ormake a false oath orstatementunderpenalty                                                                                                                                                     In addi
                                                                                                                                                                                                                             tion,afterfiling a bankruptcy case, you generally
                       ofperjury- eitherorallyorinwri
                                                    ting- in                                                                                                                                                           mustcomplete a financialmanagementinstructional
                       connectionwith a bankruptcy case,you may be                                                                                                                                                     course before you can receive a discharge. lfyou are
                       fined,imprisoned,orboth.                                                                                                                                                                        filingajointcase,bothspousesmustcomplete the
                                                                                                                                                                                                                       course.
                       AIIinformation you supply in connection with a
                       bankruptcycase issubjecttoexaminationbythe                                                                                                                                                      You can obtain the Iistofagencies approved to provide
                       Attorney Generalacting through the Offi
                                                             ce ofthe                                                                                                                                                  both the briefing and the instructionalcourse from :
                       U.S.Trustee,the Office ofthe U.S.Attorney, and                                                                                                                                                  hop://l
                                                                                                                                                                                                                             'ustice.gov/usveo/hapcpa/ccde/cc approved.htm l
                                                                                                                                                                                                                                                              -
                       otheroffi
                               ces and employeesofthe U.S.
                       DepartmentofJustice.
                                                                                                                                                                                                                       InAl abama and Nodh Carolina, go to:
    Make sure the courthas yourm ailing address                                                                                                                                                                        http://- .uscouds.gov/Federalcouds/Bankruptcy/
                                                                                                                                                                                                                       BankruptcyResources/Approvedcredi  t
 The bankruptcycoud sends noticesto the m ailing                                                                                                                                                                       AndDebtcounselors.aspx,
 address you Iiston Voluntary Petition forIndividuals
 Filing forBankruptcy(OfficialForm 101).Toensure                                                                                                                                                                       lfyou do nothave accessto a computer, the clerk of
 thatyou recei
             ve information aboutyourcase,                                                                                                                                                                             the bankruptcy courtm ay be able to help you obtain
 Bankruptcy Rule 4002 requires thatyou noti
                                          fy the court                                                                                                                                                                 the Iist.
 ofany changes in youraddress.




Notice Required by11U.S.C.j342(b)forIndivi
                                         dualsFiling forBankruptcy(Form 2010)                                                                                                                                                                                                Paoe 4
SoftwareCopyright(c)19* -2019BestCase,LLC -www.bestcase.com                                                                                                                                                                                                       BestCaseBanKruptcy
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Notice Required by 11 U.S.C.j 342(b)for
Individuals Filing forBankruptcy (Form 2010)

                                                                               Chapter7:       Liquidation

                                                                                      $245 filing fee
      You are an individualfiling forbankruptcy,
      and                                                                              $75 administrati
                                                                                                      vefee
      Yourdebts are prim arily consum erdebts.                                 +       $15 trustee surcharge
      Consum erdebts are defined in 11 U.S.C.
       j10148)as'incurredby an individual                                              $335 totalfee
       primaril
              y fora personal,fam ily,or                                       Chapter7 isforindi  vidual s who have financial
       househol d purpose.'                                                    di
                                                                                fficulty preventing them from paying theirdebts
                                                                               and who are willing to allow theirnonexempt
                                                                               propedy to be used to pay theircreditors.The
Thetypesofbankruptcythatareavailableto                                         primary purpose offiling underchapter7 isto have
indivlduals                                                                    yourdebts discharged.The bankruptcy discharge
                                                                               relieves you afterbankruptcyfrom having to pay
Indivi
     dual
        s who m eetthe qualifications m ay file under
                                                                               many ofyourpre-bankruptcy debts.Exceptions exist
one offourdifferentchaptersofBankruptcy Code:                                  forpadiculardebts,and Ii   ens on propedy may still
                                                                               be enforced afterdischarge.Forexam ple,a credi    tor
       Chapter7 -Liquidation                                                   m ay have the rightto foreclose a home mortgage or
                                                                               repossess an automobile.
       Chapter11 -Reorganization
                                                                               However,ifthe coud finds thatyou have comm itted
       Chapter12 -Voluntary repaymentplan                                      certainkinds ofimproperconductdescribed inthe
                 forfamily farmers or                                          Bankruptcy Code,the coud may deny your
                 fisherm en
                                                                               discharge.
       Chapter13 -Voluntary repaymentplan                                      You shoul d know thateven ifyou file chapter7 and
                 forindividuals with regular                                   you receive adischarge,some debts are not
                 income                                                        discharged underthe Iaw ,Therefore,you may still
                                                                               be responsible to pay:
 You should have an attorney review your                                           m osttaxes;
 decision to file forbankruptcy and the choice of
 chapter.                                                                          moststudentl
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                                                                                   domestic supportand propedy settlement
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 NoticeRequired by11U.S.C.j342(b)forIndi
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                                                                                                                       BestCase Bankruptcy
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     mostfines,penalties,forfeitures,and criminal                       yourincome is more than the median income foryour
     resti
         tution obligations'
                           ,and                                         state ofresidence and family size,depending on the
                                                                        results ofthe Means Test,the U.S.trustee,bankruptcy
     certain debts thatare notlisted in yourbankruptcy                  administrator,orcreditors canfile a moti
                                                                                                               on to dismiss
     Papers.
                                                                        yourcase underj 707(b)oftheBankruptcyCode.Ifa
                                                                        motion is filed,the courtwilldecide ifyourcase should
You may also be required to paydebts arising from:                      be di
                                                                            smissed.To avoi   d dismissal,you may choose to
                                                                        proceed underanotherchapterofthe Bankruptcy
      fraud ortheft;                                                    Code.

      fraud ordefalcationwhil
                            e acting in breach of                       Ifyou are an indi
                                                                                        vidualfiling forchapter7 bankruptcy,
                                                                        the trustee may sellyourpropedy to pay yourdebts,
      fiduciarycapacity'
                       ,
                                                                        subjectto yourri
                                                                                       ghttoexemptthe propedyoraportion
                                                                        ofthe proceeds from the sale ofthe property.The
      intentionalinjuriesthatyouinflicted'
                                         ,and                           property,and the proceeds from propedy thatyour
                                                                        bankruptcy trustee sells orIiquidates thatyou are
      deathorpersonalinjurycausedby operatinga                          enti
                                                                           tled to,is called exemptproperty.Exemptions may
      motorvehicle,vessel,oraircraftwhile intoxicated
                                                                        enable you to keep yourhome,a car,clothing,and
      from alcoholordrugs.                                              household items orto receive some ofthe proceeds if
Ifyourdebtsare primariiy consumerdebts,the coud                         the propedy issold.
can dism issyourchapter7 case ifitfinds thatyou have
enough income to repay creditorsa certain am ount.                       Exemptionsare notautomatic.To exemptproperty,
You mustfile Chapter7Statem entofYourCurrent                             you mustIi
                                                                                  stiton Schedt/e C.
                                                                                                   'The Property You Claim
Monthl
     y lncome(OfficialForm 122A-1)ifyouare an                            asExempt(OfficialForm 106C).lfyoudo notlistthe
indi
   vidualfiling forbankruptcy underchapter7.This                         property,the trustee may sellitand pay alIofthe
form willdetermine yourcurrentmonthly income and                         proceeds to yourcreditors.
com pare whetheryourincome is more than the m edian
income thatapplies in yourstate.
lfyourincome is notabove the median foryourstate,
you willnothave to complete the otherchapter7 form,                      Chapter11:Reorganization
the Chapter7MeansTestCalculation (OfficialForm
122A-2).                                                                            $1,167 filingfee
 Ifyourincome isabove the median foryourstate,you
 m ustfile a second form - the Chapter7M eans Test                            +        $550 adm inistrative fee
 Calculation (OfficialForm 122A-2).Thecalculationson                                 $1,717 totalfee
 the form- sometimes called the Means Tesf- deduct
 from yourincome Iiving expenses and payments on                         Chapter11 is often used forreorganizing a business,
 cedain debtsto determ ine any am ountavailable to pay                   butis also available to individuals.The provisi
                                                                                                                       onsof
 unsecured creditors.If                                                  chapter11 are too complicated to summarize briefly.




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 NoticeRequiredby11U.
                    S.C.j342(b)forlndividualsFilingforBankruptcy(Form 2010)
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          Because bankruptcy can have serious long-term financialand legalconsequences,including Ioss of
          yourpropedy,you should hire an attorney and carefully consideraIIofyouroptions before you file.
          O nl
             y an attorney can give you Iegaladvice aboutw hatcan happen as a resultoffiling forbankruptcy
          and whatyouroptions are.Ifyou do file forbankruptcy,an attorney can help you filloutthe forms
          properly and protectyou,yourfam ily,yourhom e,and yourpossessions.
          Although the Iaw allows you to representyourselfin bankruptcy court,you should understand that
          many people find itdifficultto representthem selves successfully.The rules are technical,and a m istake
          orinaction may harm you.Ifyou file w ithoutan attorney,you are stillresponsible forknow ing and
          following aIlofthe Iegalrequirem ents.
          You should notfile forbankruptcy ifyou are noteligible to file orifyou do notintend to filethe
          necessary docum ents.

           Bankruptcyfraudisaseriouscrime;youcould befinedandimprisonedifyoucommitfraud inyour
           bankruptcycase.Makingafalsestatement,concealinq property,orobtainlngmoneyorpropeo by
           fraud in connectionwith abankruptcycasecan resultInfines upto $250,000,orimprisonmentforup to
           20years,orboth.18 U.S.C.ïj 152,1341,1519,and 3571.


                                                                              Underchapter13,you mustfile with the courta plan
                                                                              to repay yourcreditors aIIorpartofthe moneythat
Chapter12:Repaymentylanforfamily                                              you owe them,usually using yourfuture earnings.If
                  farm eo orflsherm en
                                                                              the coud approves yourplan,the coud willallow you
                                                                              torepayyourdebts,asadjusted bythe plan,within3
                 $200 filing fee                                              yearsor5 years,depending on yourincome and other
+                 $75 administrative fee                                      factors.
                 $275 totalfee
                                                                              Afteryou make aIIthe payments underyourplan,
Sim ilarto chapter13,chapter12 permits familyfarmers                          many ofyourdebtsare discharged.The debtsthatare
and fishermen to repay theirdebtsovera period oftime                          notdischarged and thatyou may stillbe responsibl
                                                                                                                             e to
using future earnings and to discharge some debtsthat                         pay include:
are notpaid.
                                                                                    domestic suppod obligations,
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Chapter13:Reqaymentplanfor                                                          certain taxes,
                  indlvlduals with regular
                  incom e
                                                                                    debts forfraud ortheft,

                 $235 filing fee                                                    debts forfraud ordefalcation while acting in a
+                 $75 adm inistrative fee                                           fiduciary capacity,
                 $310 totalfee                                                      mostcriminalfinesand restitution obligations,
Chapter13 is forindividuals who have regul arincome
and would Iike to pay aIIorpad oftheirdebts in                                      certain debts thatare notIisted in your
installments overa period oftime and to discharge                                   bankruptcy papers,
some debtsthatare notpaid.You are eligibl  e for
chapter13 onl yi fyourdebts are notmore than certain                                certain debts foracts thatcaused death or
dollaramountssetforth in 11 U.S.C.j 109.                                            personalinjury,and
                                                                                    cedain Iong-term secured debts.



NoticeRequired by 11U.S.C.9342(b)forIndividual
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SoftwareCopyright(c)1996-2019BestCase,LLC -www.bestcase.com                                                            BestCaseBankruptcy
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     Bankruptcy crimes have serious consequences                                                                                                                                                                 briefing is usuall
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                          lfyou knowingly and fraudulently concealassets
                          ormake a false oath orstatementunderpenal   ty                                                                                                                                         In addition,afterfiling a bankruptcy case,you generally
                          ofperjury- eitherorallyorinwriting- in                                                                                                                                                 m ustcomplete a financialmanagementinstructi    onal
                          connection with a bankruptcy case,you may be                                                                                                                                           course before you can recei  ve a discharge.Ifyou are
                          fined,imprisoned,orboth.                                                                                                                                                               filingajointcase,bothspousesmustcomplete the
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                          AIIinformation you supply in connection with a
                          bankruptcycase issubjecttoexaminationbythe                                                                                                                                             You can obtain the Iistofagenciesapproved to provide
                          Attorney Generalacting throughthe O#ice ofthe                                                                                                                                          both the briefing and the instructi
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                          U.S.Trustee,the Office ofthe U.S.Attorney,and                                                                                                                                          http://justice.gov/usveo/hapcpa/ccde/cc-approved.html
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     Make sure the coud has yourmailing address                                                                                                                                                                  http:
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     The bankruptcy courtsends noticesto the mailing                                                                                                                                                             AndDebtcounselors.aspx.
     addressyou Iiston Voluntary Petition forIndividuals
     Filing forBankruptcy(OfficialForm 101).To ensure                                                                                                                                                            Ifyou do nothave access to a com puter,the clerkof
     thatyou receive informationaboutyourcase,                                                                                                                                                                   the bankruptcy courtmay be able to help you obtain
     Bankruptcy Rule 4002 requires thatyou noti
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     ofany changes in youraddress.




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    SoftwareCopyright(c)1996-2019BestCase,LLC-wwwabestcasevcom                                                                                                                                                                                            BestCaseBankruptcy
            Case 1:19-bk-12284-MT                Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                               Desc
                                                 Main Document    Page 41 of 42


               #    . #   # @*   :    . *                                             - @ * :# :      e * * *''         B    * V       *
                                                                                       *    @
Debtor1             Afsaneh Doost
Debtor2                                                                               K 1.Thereisnopresumptionofabuse
(Spouse,iffiling)
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Uni
  ted States BankruptcyCoudforthe: CentralDi
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                                                                                                eswillbe made underChapter7Means Test
                                                                                           Calculation(OfficialForm 122A-2).
Casenumber 1:19-bk-12284
(ifknown)                                                                             L 3.TheMeansTestdoesnotappl      ynow becauseof
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                                                                                       Q checkifthisisanamended filing
O#icialForm 122A - 1
C hapter7 Statem entofYourCurrentM onthly Incom e                                                                                             42/15
Beascompleteand accuoteaspossible.Iftwomarried peoplearefilingtogether,bothareequallyresponsibleforbeingaccurate.lfmorespaceisneeded,
attachasepaotesheettothisform .Includethelinenumbertowhichtheadditionalinformationapplies.Onthetopofanyadditionalpages!writeyournameand
  senumber(i
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                   fyoubelievethatyouareexemptedfrom apresumptionofabusebecauseyoudo nothave
                                                                                           ' primarilyconsumerdebtsorbecauseof
ca
qualifying mili
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                                      eStatementofExemption from Presumption ofAbus.Underj707(b)(2)(OfficialForm
                                                                                                         122A-1Supp)wi
                                                                                                                     ththisform.
 *-       CalculateYourCurrentMonthly Income
  1. Whatisyourmari taland filingstatus? Checkone onl
                                                    y.
        Z Notmarried.FilloutColumnA,l  ines2-11.
        E1Marriedandyourspousei   sfilingwithyou.FilloutbothColtl
                                                                mnsA andB,I   ines2-11.
        W Marriedandyourspousei   sNOTfilingwithyou.Youandyourspouseare;
          K Livinginthesamehouseholdandarenotlegallyseparated.Fi      lloutbothColumnsA andB,Iines2-11.
          Q Livingseparatel yorareIegallyseparated.FilloutColumnA,l ines2-11'
                                                                            ,donot5lloutColumnB.Bycheckingthisbox,youdeclareunder
            penalW ofperjurythatyouandyourspouseareI   egal
                                                          lyseparatedundernonbankruptcylaw thatappliesorthatyouandyourspouseare
             l
             ivingapartforreasonsthatdonotincludeevadi ngtheMeansTestrequirements.11U.  S.C j707(b)(7)(B).
      Fillintheaverage monthlyincomethatyoureceivedfrom aIIsources,derivedduringthe6fullmonth:befom you5Iethi
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                                                                                        Debtor1               Debtor2 or
                                                                                                              non-slingspouse
   2. Your gr
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       ayrol   swag
             edu     es,
                ctions).salal,tips,bonuses,overtime,andcommissions(beforeaII $                   1.380.00     $       4,600.00
      p
   3. Alimon
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                       n.                                                               $            0.00     $             0.00
   4. AlIam ountsfrom any sourcewhichare regularly paid forhousehold expenses
      ofyou oryourdependents,including child support Include regul     arcontributions
      from an unmarried partner,membersofyourhousehol      d,yourdependents,parents,
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                                                         3.        yifColumnB isnot $                0-00     $             0.00
   5. Netincome from operating a business,profession,orfarm
                                                                      Debtor1
         Grossreceipts(beforea1ldeductions)                 $       0.00
         Ordinaw andnecessaryoperatingexpenses             -$       0-00
         Netmonthlyincomefrom abusi  ness,professi
                                                 on,orfarm $        0.00 Copyhere->$                 0.00     $             0.00
   6. Netincomefrom rentaland otherrealproperty
                                                                      Debtor1
      Grossreceipts(beforealIdeducti
                                   ons)                       $      0.00
      Ordinaryandnecessaryoperati ngexpenses                  4      0.00
      Netmonthl yincomefrom rentalorotherrealproperty         $      0-00 Copyhere->$                 0.00    $             0.00
    7 Interest,dividends,androyalties                                               $                 0-00    $             0.00




  OfficialForm 122A-1                             Chapter7 StatementofYourCurrentMonthly Income                                             page 1
                                                                                                                                   BestCaseBankruptcy
  Soft
     wareCopyri
              ght(c)1996-2019BestCase LLC-wwwbestcase.
                                                     com
            Case 1:19-bk-12284-MT                       Doc 11 Filed 09/25/19 Entered 09/26/19 11:32:07                    Desc
                                                        Main Document    Page 42 of 42
Debtor1 Afsaneh Doost                                                                casenumber(i
                                                                                                fknowns 1:19-bk-12284

                                                                                    ColumnA            Column B
                                                                                    Debtor1            Debtor2 or
                                                                                                       non-sl
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 8. Unemploymentcompensation                                               $                   0.00    $           0.00
    Do notentertheamountifyou contendthatthe amountrecei
                                                       kedwasa benefi
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                                  tyAd.                         ved thatwas a       $          0-00    $           0.00
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    receivedasavidim ofa warcri m e,acrimeagainsthumani  ty,orinternationalor
    domesticterrori
                  sm.Ifnecessaly Iistothersources on aseparatepage and putthe
    totalbelow.
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               Totalamountsfrom separatepages,i
                                              fany,                                + $         0.00     $          0.00
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      eac
                                                                                                                     Totalcurrentmonthly
                                                                                                                     income
 -.          Determ ineW hetherthe Means TestAppliesto You

  12.Calcul
          ate yourcurrentmonthly incomeforthe year.Foll ow these steps:
     12a.Copyyourtotalcurrentmonthlyincome from Iine 11                                   Copy line 11 here=>       $       5 980.00

          Multipl
                yby12(thenumberofmonthsinayear)                                                                          x 12
      12b.Theresultisyourannualincomeforthi
                                          spadoftheform                                                         12b. $     71,760.00

  13.Calculatethe median family income thatapplies to you.Follow these steps:
      Fillinthestateinwhichyouli
                               ve.                                 CA

      Fillinthe numberofpeopl e inyourhousehol
                                             d.                 6
      Fillinthe medianfamilyincomeforyourstate and size ofhousehold.                                                $ 114,813.00
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  14.How do the Iines compare?
      14a. M        Line 12b i
                             sIessthan orequalto li
                                                  ne 13.Onthe top ofpage 1,checkbox 1,There isnopresumpt
                                                                                                       ionofabuse.
                    GotoPart3.
       14b. Q Li
               ne12bismorethanIine13.Onthetopofpage 1,checkbox2,WhepresumptionofabuseisdeterminedbyForm 122A-2.
                   Goto Part3 andfiloutForm 122A-2.
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              Sign Below
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                 sa       oost
               Si
                gnature ofDebtor1
        Date septem ber24,2019
               MM /DD /YYYY
            lfyouchecked Ii ne 14a,do NOT fifloutor5l
                                                    e Form 122A-2,
            Ifyou checked Iine 14b,5lloutForm 122A-2 and5le itwiththi
                                                                    sform.



OfficialForm 122A-1                                 Chapter7StatementofYourCurrentMonthly Income                                   Paoe 2
                                                                                                                            BestCaseBankruptcy
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